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             ORAL ARGUMENT HELD SEPTEMBER 29, 2017
                             No. 15-1344
              ________________________________________

            IN THE UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT
             _________________________________________

                 International Longshore & Warehouse Union,
          International Longshore & Warehouse Union, Local 8, and
            International Longshore & Warehouse Union, Local 40
                       Petitioners/Cross-Respondents
                                    v.

                      National Labor Relations Board
                        Respondent/Cross-Petitioner

                                   and

                            ICTSI Oregon, Inc.
                                Intervenor

        ON PETITION FOR REVIEW AND CROSS-APPLICATION
               FOR ENFORCEMENT OF AN ORDER OF
            THE NATIONAL LABOR RELATIONS BOARD
             ______________________________________

            ILWU’S PETITION FOR EN BANC REHEARING
               ______________________________________

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                               GLOSSARY


Board or NLRB   National Labor Relations Board

IBEW            International Brotherhood of Electrical Workers, Local 48

ICTSI           ICTSI Oregon, Inc.

ILA I           NLRB v. Longshoremen’s Ass’n, 447 U.S. 490 (1980)

ILA II          NLRB v. Longshoremen’s Ass’n, 473 U.S. 61 (1985)

ILWU            International Longshore and Warehouse Union

NLRA            National Labor Relations Act, 29 U.S.C. §§ 151, et seq.

PCLCD           Pacific Coast Longshore Contract Document

PMA             Pacific Maritime Association

Port            Port of Portland

Reefers         Refrigerated shipping containers

Reefer Work     The work of plugging, unplugging, and monitoring refrigerated

                shipping containers

T-6             Terminal 6 in the Port of Portland




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                  INTRODUCTION (RULE 35(b) STATEMENT)

      The Panel Decision, and the underlying Board decision it enforces, in holding

that ocean shipping carriers 1 lack what has been their traditional “right to control”

the work done on their own cargo containers because of contrary terms in a marine

terminal lease to which they are not parties, conflict with NLRB v. International

Longshoremen’s Association (“ILA II”), 473 U.S. 61 (1985) and the decisions of

this Circuit, California Cartage Company v. NLRB, 822 F.2d, 1203, 1206 (D.C. Cir.

1987), enforcing in pertinent part, Longshoremen ILWU (Cal Cartage), 278 NLRB

220, 223-224 (1986), and ILA v. NLRB, 613 F.2d 890 (D.C. Cir. 1979), affirmed,

NLRB v. International Longshoremen’s Association (“ILA I”), 447 U.S. 490 (1980),

making necessary a full court consideration to secure uniformity. The Panel and

Board decisions also conflict with decisions in other circuits, American Trucking

Association, Inc. v. NLRB, 734 F.2d 966 (4th Cir. 1984), aff’d, ILA II, supra, and,

American President Lines, Ltd. v. ILWU, Alaska Longshore Division, 611 F. App’x

908 (9th Cir. 2015) (unpublished), affirming, 997 F. Supp. 2d 1037 (D. Alaska

2014), concerning exceptionally “important questions of law, economics, and public

policy,” American Trucking, 734 F.2d at 977, -- whether ocean shipping carriers


1
   The cases use different terms interchangeably, including “ocean carriers,”
“shippers,” “shipping companies,” “lines,” “steamship lines,” “shipowners,” and
“carriers,” to describe the category of companies that operate ocean vessels to
transport cargo in metal containers they own or lease throughout their international
and domestic trade routes.


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retain their previously established “right to control” the work performed in U.S. ports

on the shipping containers, including refrigerated containers (called, “reefers”), that

they own or lease, to allow for work preservation agreements with their port unions

(here ILWU) that contain “negotiated compromise[s] of a volatile problem bearing

directly on the well-being of our national economy,” ILA II, 473 U.S. at 84; the

“volatile problem” affecting the “national economy concerns the extent to which

longshore job losses from new technologies (here, robotics) can be mitigated by

assigning functionally-related work, such as the disputed “reefer work,”2 to

longshoremen. While the instant matter involves West Coast ports, which “are

crucial gateways to America’s trade routes to Asia and the Pacific, annually handling

over 50 percent of the nation’s containerized imports and exports,” U.S. v. Pacific

Maritime Association, 229 F.Supp.2d 1008, 1009-10 (N.D. Cal. 2002), the

conflicting authority generated by the Panel and Board Decisions equally impact all

U.S. ports and international trade.

       The maritime industry, starting in the middle of the 20th Century, developed

collective bargaining solutions for preservation of longshore work to curtail job

losses from containerization, the “new” labor-saving technology of that era. This

generated extensive caselaw that ultimately affirmed, pursuant to the “work



2
 “Reefer work” is the plugging, unplugging and monitoring of dockside reefers
while in the course of the ocean shippers’ trade routes.


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preservation doctrine,” the legality under the NLRA of such agreements, like the one

at issue here. Under the doctrine, a union’s efforts to enforce such agreements do not

violate § 8(b)(4)(B) of the NLRA, 29 U.S.C. § 158(b)(4)(B), if the employer has the

“right to control” assignment of the work. NLRB v. Enterprise Ass’n of Pipefitters,

429 U.S. 507 (1977). In ILA II, the Supreme Court characterized Pipefitters as

reaffirming “that so long as the ‘right to control’ test is satisfied, it will not normally

violate § 8(b)(4)(B) to engage in activity against one’s own employer ‘for the

purpose of preserving work traditionally performed by union members even though

in order to comply with the union’s demand the employer would have to cease doing

business with another employer.’” 473 U.S. 61, 77, n. 16, quoting, 429 U.S. at 510.

In all the longshore cases cited above, which we assert conflict with the Decisions

of the Panel and Board here, the Ocean Carriers and their multi-employer bargaining

associations were found to have “right to control” the work performed on the

containers they own or lease, despite contrary contractual terms and arrangements

with all manner of terminals, freight stations, warehouses, trucking companies and

other waystations along the Carriers’ trade routes.

       The maritime employers and unions throughout the country have “relied on

the work preservation doctrine [as defined in the above longshore cases] to guide

their bargaining…. [necessitating that this Circuit] follow the normal presumption

of stare decisis in cases of statutory interpretation.” ILA II, 473 U.S. at 84. The Panel




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and Board Decisions, holding that Ocean Carriers and their bargaining association

now lack such “right to control” in the face of a Port’s contrary terminal lease, to

which they are not even parties, overturn this legal predicate for the nation’s

longshore work preservation agreements, present and future. The Panel and Board

Decisions likewise fail to “be informed by an awareness of the congressional

preference for collective bargaining as the method for resolving disputes over

dislocations caused by the introduction of technological innovations in the

workplace.” ILA I, 447 U.S. at 511.

      Such departure from precedent severely destabilizes collective bargaining in

an industry of crucial importance to national and world commerce. This is not just

the view of ILWU. It is shared by the 70 or so West Coast longshore companies, as

reflected in their Amicus Brief filed with the Panel in support of ILWU’s initial

petition for review. (See, Document #1621962, filed: 06/27/2016). The

unprecedented holding of the Panel and Board Decisions ensures turmoil and

uncertainty in the future administration and negotiation of the nation’s longshore

labor contracts, which directly undermines the NLRA’s primary goal of labor-

management peace and bargaining stability. ILA v. NLRB, 613 F.2d at 903

(“unwarranted interference by the NLRB and the courts could inject a massive dose

of uncertainty into the planning functions of both management and labor.”) If the

Ocean Carriers’ “right to control” can be so easily overridden by a lease not even of




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their making, then this would consequently “require that unions block progress by

refusing to permit any use at all of new technology in order to avoid the prohibitions

of §§ 8(b)(4)(B) and 8(e).” ILA II, 473 U.S. at 77, citing ILA I at 506. The Panel and

Board’s departure from binding precedent and misapplication of the “right to

control” test necessitates en banc rehearing.

                                  BACKGROUND

      This case arises from a dispute at Terminal 6 (“T-6”) in the Port of Portland

(“Port”) concerning the assignment of dockside reefer work, which the West Coast

employers, represented by Pacific Maritime Association (PMA), the multi-employer

bargaining group, in an ILWU coastwide longshore bargaining unit, have assigned

to longshoremen under work preservation provisions in the ILWU-PMA Pacific

Coast Longshore Contract Document (PCLCD). PMA Ocean Carriers (e.g., Hanjin

Shipping Lines, LCC and Hapag Lloyd, Inc.), owned and temporarily released

approximately 98 percent of the containers and reefers at T-6 for continued transport

through their trade routes. (JA-91-92, 360-61)

      Until 2010, the Port, which is not a PMA-member, operated T-6 under

stevedoring Carrier Contracts with the PMA-Carriers, whereby the Carriers released

under specified conditions their containers and reefers for the Port’s temporary

handling as part of their international trade routes. (JA-309-10, 474-75, 836-51,

1236-81). In 2010, the Port terminated all business dealings with the PMA Carriers




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and assigned the Carrier Contracts to ICTSI of Oregon, Inc., which joined PMA and

became signatory to the PCLCD. (JA-345, 486-87, 1187-1235; PCLDC § 1.82)

      ICTSI operated T-6 under a property lease with the Port, which provided for

Port electricians, represented by IBEW Local 48, to continue the decades-long

practice from when the Port had contracted with the PMA-Carriers, of performing

the reefer work in the middle of longshore operations staffed by ILWU

longshoremen. (JA-2169) The PMA-Carriers were not parties to the lease and made

no such agreement to have IBEW electricians continue to do the reefer work on their

containers. (JA-138-39, 343-44, 366-67, 1187-1235, 1361-62) When it withdrew

from the Carrier Contracts, the Port did not reserve or secure with the PMA-Carriers

any provision giving it any ongoing right to perform the dockside reefer work or

otherwise handle the Carriers’ reefers. (JA-351, 436-39, 1388) The PMA-Carriers

who own or lease nearly all the reefers at T6, (JA-434) exercise direct control over

the work performed on them. (JA-499-500) They “determine not only where [the

containers are] going to go, but how their equipment is to be handled, what is to be

done with their equipment. Is it to be loaded, is it not to be loaded.” (JA-500; 225-

43, 250-87, 462-63, 1398-1447) Neither ICTSI nor the Port own or lease any

containers. (Id.)

      After months of grievance-processing under the PCLCD, in June 2012, ILWU

obtained rulings from an industry arbitrator and the Joint Coast Labor Relations




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Committee (CLRC), the highest labor-management body that adjudicates longshore

contract disputes, ordering that the reefer work be performed by ILWU

longshoremen under the longshore work preservation provisions, which were added

in 2008 to offset longshore job losses from robotics at port terminals. (JA-492, 2174;

PCLCD § 1.72) ILWU longshoremen then engaged in various job actions to enforce

these orders.

      From the start, the Carriers have demanded that ICTSI and Port stop

interfering in their assignment of reefer work to longshoremen or they “will make

alternative plans.” (JA-507-530, 126-129, 1393-97) When this was rejected, PMA-

Carriers responded by bypassing T6 and withholding delivery of their containers

there for a time until the Board obtained a court injunction against the work

assignment and job actions. (JA-129, 352)

      Without even mentioning any of the longshore cases, the Board rejected

ILWU’s work preservation claim, finding the reefer work to be outside traditional

longshore work and that the PMA-Carriers lacked “right to control” the reefer work

due to the Port-ICTSI lease. The Panel affirmed in a short, unpublished Judgment

on the second ground, citing, without analysis, ILA I.

            REASONS FOR GRANTING REHEARING EN BANC

      The Panel and underlying Board rulings that the Port’s T-6 lease gives it “right

to control” the reefer work conflicts with the decisions of this Circuit and the Fourth




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Circuit, as affirmed by the Supreme Court in the ILA cases, and this Circuit’s later

decision in Cal Cartage, concerning the same ILWU-PMA West Coast bargaining

unit.

        Starting with ILA v NLRB, this Circuit directly rejected the analysis now

adopted by the Panel and Board Decisions here -- that contracts with third parties,

involved in the ocean shipper’s trade routes, trump or override the ocean shippers’

“right to control” their containers and the work performed on them. In so ruling, the

ILA panel noted that the facts showing “right to control” are fairly uniform among

the many longshore industry cases and that the issue concerned the proper legal

analysis under the work preservation caselaw. ILA v. NLRB, 613 F.2d at 913 (“This

is the fourth circuit to adjudge the validity of the Rules on Containers or of action

seeking to enforce the Rules, and the factual backgrounds of these cases overlap to

a significant degree…. [O]ur conflict with the NLRB is exclusively focused on the

Board’s misinterpretation and misapplication of the prevailing law the doctrine of

work preservation.”) The Circuit further observed that “[t]he Supreme Court has

consistently maintained that NLRB rulings should not be sustained by reviewing

courts where those rulings rest on ‘erroneous legal foundations.’” Id. (citations

omitted.)

        With respect to “right to control,” the Circuit in ILA held that the ocean

shipping lines (referred to therein as “shippers”) “controlled the disposition of all the




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containers at issue…. [because] when the relevant [ILA-management] Container

Committees found the shippers in violation of the Rules and fined them, the shippers,

after unsuccessfully seeking indemnification from the truckers and consolidators,

simply refused to supply their containers to the truckers and consolidators so that the

Rules would be complied with that is, so that ILA labor would do the work if the

work were to be done.” 613 F.2d at 913-914. The Circuit further held that the

competing contractual rights and arrangements with third parties, such as owners of

container freight stations, warehouses and trucking lines, did not “impair” the

shippers’ preeminent “right to control” the work done on the containers they owned

or leased. The Circuit reasoned that “the shipper can simply refuse to release a

container to a trucking company or consolidator…. [and u]nless the shippers turn

over the containers, as they ultimately chose not to do in the cases before us, this

“right” is without substance.” ILA v. NLRB, 613 F.2d at 913, n. 190. The Circuit’s

legal analysis was affirmed by the Supreme Court, without comment as to the “right

of control” issue. ILA I, 447 U.S. at 512-513.

      On remand from the Supreme Court in ILA I, the Board adopted the Circuit’s

legal analysis and rejected the argument, which the Panel and Board now espouse,

that pre-existing contractual rights of third parties override the shippers’ “right to

control” the work on their containers. The ILA Board found that the argument

“ignores two critical truths:”




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      The first relates to timing and the fact that the choice exercised by shippers,
      importers, and their agents matures only after the technology is made
      available to them. The second relates to the origin of the technology and the
      fact that options made available to shippers, consignees, and their agents are
      not of their own design, but have been made possible by the innovation action
      of the various employers bound to the Rules. Thus, the oversea container is
      the main spring of a technology finding its origin within the primary work
      units.

ILA, 266 NLRB 230, 261 (1983). The Board further explained:

      [A]s the job guarantees embodied in said Rules take effect as a precondition
      to release of containers, said obligations are imposed upon signatory
      employers at a time when the latter possess power to comply. In other words,
      the contractual assignment to the ILA operates as a prior restraint upon
      shippers, importers, or their agents who would choose to utilize containers
      owned or leased by steamship companies in violation of the latter’s obligation
      to deep sea ILA labor.

ILA, 266 NLRB at 261.

      The Fourth Circuit affirmed the Board’s legal analysis, with the stern

injunction, “the argument that the shipping lines do not have the right to control the

container work sought by the longshoremen lacks any semblance of merit.”

American Trucking, 734 F.2d at 978. In particular, the court held that “although the

shipping companies release containers to shippers, importers, and their agents by

virtue of contractual arrangements, the companies own or lease the containers and

can therefore prescribe the conditions under which they may be released…. [and]




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that under such circumstances the ‘right of control’ resides with the shipping

companies, the parties to the Rules.” American Trucking, 734 F.2d at 976-977.

      In the Supreme Court’s second review in ILA II, though the “rationale” for the

Pipefitters’ “right to control” test was “not directly implicated,” the court noted that

“the ALJ, Board, and Court of Appeals have unanimously concluded that the

longshoremen’s employers, marine shipping companies, have the ‘right to control’

container loading and unloading work by virtue of their ownership or

leasing control of the containers.” From this, the court specifically concluded “[t]hus

the Pipefitters test is satisfied here.” ILA II, 473 U.S. at 74, n.12.

      Thereafter, in Cal Cartage, the D.C. Circuit applied the holdings from the

above cases to uphold similar ILWU-PMA work preservation agreements, affirming

the Board’s underlying ruling there that the PMA ocean shipping companies possess

ultimate “right to control” the work performed on their containers in the West Coast

longshore industry, which is involved here. Concerning the PMA steamship

companies’ “right to control” the work performed on their own containers at various

locations, the Board had found:

      The containers are owned or leased by the steamship companies. Those
      companies control the use of the containers. The steamship companies
      typically provide for the initial loading and unloading of the containers by
      contracting with container freight stations for the performance of this work.
      The steamship companies refer their customers to the container freight
      stations and charge the shippers a tariff rate that includes the cost of
      containerization.



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ILWU (California Cartage), 278 NLRB 220, 223 (1986). Accordingly, the Board

had concluded, “Since the record shows that [ILWU’s] refusal to handle cargo in an

attempt to enforce the [work preservation] Supplements was directed at containers

owned or leased by PMA-member steamship companies, we find this conduct not to

be violative of Section 8(b)(4)(i) and (ii)(B).” 278 NLRB at 224.

      However, the Cal Cartage Board further held that PMA steamship companies

lacked the “right to control” containers owned by “non-PMA” companies. 278

NLRB at 223. The Board found ownership of the containers and its resulting power

to prescribe the conditions for their release to third parties, such as container freight

stations, to be the “critical distinction” between lawful application of work

preservation agreements on containers owned by PMA-member companies and

unlawful application on containers owned by “non-PMA” companies:

      Such a distinction is critical in assessing whether the immediate employer,
      here the PMA member, would have the power to control the assignment of
      the work sought. In NLRB v. Longshoremen ILA, the Board found that the
      signatory employers could control the assignment of this work by prescribing
      the conditions for the release of their containers to nonmembers. Here, there
      is no showing that the PMA members would have such initial control over
      any containers nonmembers own.

ILWU (California Cartage), 278 NLRB at 223-224.

      While this Circuit affirmed the Cal Cartage Board’s “right to control”

analysis as to containers owned or leased by PMA companies, it found that the record



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did “not clearly disclose as much of an operational difference between members and

nonmembers of PMA as the Board’s opinion suggests….” [and that i]t may well be,

then, that PMA does indeed have some control over non-PMA members’ assignment

of work, or that those steamship companies in fact have some control over PMA

itself, or both.” California Cartage Co. v. N.L.R.B., 822 F.2d at 1210. Accordingly,

the Circuit held that “[t]he Board’s opinion does not… adequately explain… the

distinction between member and non-member steamship companies….” Id. at 1211.

The Circuit also instructed the Board to observe on remand that “consideration of

the formal indicia of control here ought not end the Board’s [NLRA] inquiry.” Id. at

1210:

        A signatory employer’s absence of control over the work sought… is clearly
        not the only evidence that can shed light on the relationship between the
        signatory employer and the one the agreement was intended to influence.
        Although the Board decides the weight to be assigned the absence of control,
        see Pipefitters, 429 U.S. at 524, 97 S.Ct. at 901, the Supreme Court also made
        clear in Pipefitters that the Board cannot ignore other evidence of the
        signatory employer’s neutrality vel non….

Id. at 1210-11.

        More recently, the Ninth Circuit applied Cal Cartage’s “right to control”

analysis in an unpublished opinion, affirming a district court’s grant of summary

judgment on the legality of ILWU’s work preservation agreement in Alaska. See,

American. President Lines, Ltd. v. ILWU, 611 F. App’x 908, 911 (9th Cir. 2015),




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affirming, 997 F. Supp. 2d 1037, 1046 (D. Alaska 2014).3 There, the circuit

specifically affirmed the district court’s ruling that APL, an ocean shipping line,

possesses “right to control” work done on its containers, based on the similar

findings in Cal Cartage, because it “control[s] where APL’s containers go, when

they go, how many go, where they go when they get there, and who takes them

there.” Id. The district court had found such “right to control,” even though APL was

operationally and contractually reliant on Samson, a barge operator, to transport

APL containers to the small Alaska ports, which APL vessels cannot access. Id., 997

F.Supp.2d at 1040. Nor was APL’s “right to control” impaired by Samson’s

contractual right under its “connecting carrier agreement” with APL to use its own

barge employees to load and unload APL containers between its barge and the dock

pursuant to Samson’s collective bargaining agreement with another union. Id.

      The above authorities directly refute the Panel’s terse affirmance of the

Board’s holding here that “‘[t]hough it is true that the carriers own or lease all of the

reefers, they purchase available terminal services necessary to load, unload and store


3
  In its earlier, published decision in American President Lines, Ltd. v. ILWU, Alaska
Longshore Division, Unit 60, 721 F.3d 1147 (9th Cir.2013), the Ninth Circuit had
reversed the district court’s grant of summary judgment against APL based on
supposed lack of standing. The circuit rejected the district court’s ruling that APL
lacked standing because it “is attempting to litigate issues—whether the Seward
work was fairly claimable by ILWU and whether APL had a right to control that
work—that have already been decided through arbitration which the parties agreed
would be binding.” Id. 721 F.3d. at 1153. The circuit directed the lower court to rule
on the merits as to work preservation and “right to control.”


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their containers from the terminal owners or operators…. [and that] when the Port

[of Portland] leased [the Terminal 6] container operation to ICTSI, it carefully

reserved the historical practices that developed over the years with respect to the

work performed by [IBEW]” and “[n]o evidence shows that the Port ever

relinquished its control at any time to anyone . . . to perform the dockside reefer

work.” Judgment at *2.

      In so ruling, the Panel repeated the Board’s error of ignoring the contrary

rulings from the authorities above and failing to consider that the Port’s supposed

“right to control” the reefers flowed from the PMA-Carriers’ power to release them

to the Port and ICTSI. The Panel and the Board also failed to observe what the above

authorities all hold – that the ocean shipping companies’ “right to control” the work

done on containers they own is not impaired by pre-existing contractual rights or

arrangements enjoyed by third parties because the lines “can simply refuse to release

a container to” a recalcitrant third party, like the Port here, whose supposed “right

of control” “is without substance” “[u]nless the shippers turn over the containers.”

ILA v. NLRB, 613 F.2d at 913, n. 190. See also, American Trucking, 734 F.2d at 976-

977 (“although the shipping companies release containers to shippers, importers, and

their agents by virtue of contractual arrangements, the companies own or lease the

containers and can therefore prescribe the conditions under which they may be

released”), affirmed, ILA II, 473 U.S. at 74, n.12 (since “the ALJ, Board, and Court




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of Appeals have unanimously concluded that the longshoremen’s employers, marine

shipping companies, have the ‘right to control’ container loading and unloading

work by virtue of their ownership or leasing control of the containers,”

the Pipefitters [right to control] test is satisfied here.”); see also, ILWU (California

Cartage), 278 NLRB at 223, (“The containers are owned or leased by the steamship

companies [who therefore] control the use of the containers…. [even though they]

typically provide for the initial loading and unloading of the containers by

contracting with container freight stations for the performance of this work.”), aff’d,

822 F.3d at 1210-11; and, ILA, 266 NLRB at 261 (“the contractual assignment to the

ILA operates as a prior restraint upon shippers, importers, or their agents who would

choose to utilize containers owned or leased by steamship companies” contrary to

the ILA labor agreement.)

      In sum, the Panel and underlying Board Decisions directly conflict with the

authorities discussed above, necessitating the Circuit’s en banc rehearing.


                                        Respectfully submitted,
Dated: December 20, 2017                LAW OFFICE OF ROBERT REMAR

                                 By:      /s/ Robert S. Remar
                                        Robert Remar
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Dated: December 20, 2017          LEONARD CARDER, LLP

                            By:    /s/ Emily M. Maglio
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                                  Attorneys for Petitioners,
                                  INTERNATIONAL LONGSHORE
                                  AND WAREHOUSE UNION and
                                  ILWU LOCAL 8 AND ILWU LOCAL 40




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                      CERTIFICATE OF COMPLIANCE
      ILWU’s Petition for En Banc Rehearing complies with Federal Rule of

Appellate Procedure 28.1(e)(2)(A)(i), governing length of such brief, because it

contains 3,892 words, excluding the parts of the Petition exempted by Federal Rule

of Appellate Procedure 32(a)(7)(B)(iii).

      This Petition complies with the typeface requirements of Federal Rule of

Appellate Procedure 32(a)(5) and the type style requirements of Federal Rule of

Appellate Procedure 32(a)(6) because it has been prepared in a proportionally spaced

typeface using Microsoft Office Word 2010, font Times New Roman, and font size

14.

Dated: December 20, 2017              LAW OFFICE OF ROBERT REMAR

                                By:    /s/ Robert S. Remar
                                      Robert Remar

                                      Attorneys for Petitioners,
                                      ILWU and ILWU LOCAL 8 AND 40




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                         ADDENDA TO PETITION


   1.   Copy of Panel’s Judgment (D.C. Cir. November 6, 2017)


   2.   Copy of Board Decision, ILWU (ICTSI), 363 NLRB No. 12 (September
        24, 2015)


   3.   Certificate as to Parties, Rulings and Related Cases


   4.   Corporate Disclosure Statement




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                  United States Court of Appeals
                           FOR THE DISTRICT OF COLUMBIA CIRCUIT



No. 15-1344                                                  September Term, 2017
                                                             FILED ON: NOVEMBER 6, 2017
INTERNATIONAL LONGSHORE & WAREHOUSE UNION, ET AL.,
                  PETITIONERS

v.

NATIONAL LABOR RELATIONS BOARD,
                  RESPONDENT

ICTSI OREGON, INC.,
                      INTERVENOR


Consolidated with 15-1428


                         On Petition for Review and Cross-Application
                                 for Enforcement of an Order of
                              the National Labor Relations Board


       Before: GRIFFITH and KAVANAUGH, Circuit Judges, and SENTELLE, Senior Circuit Judge.

                                       JUDGMENT

        These cases were considered on the record from the National Labor Relations Board and
the briefs and arguments of the parties. The Court has accorded the issues full consideration and
has determined that they do not warrant a published opinion. See D.C. Cir. R. 36(d). It is

       ORDERED AND ADJUDGED that the petition for review be denied and the cross-
application for enforcement be granted for the reasons stated below.

         The International Longshore & Warehouse Labor Union et al. (“ILWU”) petition for
review of the National Labor Relations Board’s (“NLRB,” or the “Board”) decisions
(1) affirming the Administrative Law Judge’s (“ALJ”) determination that ILWU lacked a lawful
work preservation objective, (2) affirming the ALJ’s denial of ILWU’s motion to reopen the
record to consider new evidence, (3) denying ILWU’s motion to take administrative notice of the
transcript and evidence from the second case on this issue, (4) denying ILWU’s motion to
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consolidate this case with the second case on this issue, and (5) denying ILWU’s motion to
supplement its exceptions to argue that the Board’s Acting General Counsel lacked authority to
issue the underlying complaint because he was unconstitutionally appointed. The NLRB cross-
applies for enforcement of its decision and order.

       Our review of unfair labor practice determinations by the Board is “quite narrow.”
Traction Wholesale Ctr. Co. v. NLRB, 216 F.3d 92, 99 (D.C. Cir. 2000). We set aside orders of
the NLRB only if the Board lacks a reasonable basis in law, fails to apply the proper legal
standard, departs from precedent without reasoned justification, or its factual determinations lack
substantial evidence. See Titanium Metals Corp. v. NLRB, 392 F.3d 439, 445-46 (D.C. Cir.
2004); see also Sutter E. Bay Hosps. v. NLRB, 687 F.3d 424, 437 (D.C. Cir. 2012). Under this
standard, the Board’s findings are “conclusive” if supported by substantial evidence on the record
as a whole. 29 U.S.C. § 160(e); Universal Camera Corp. v. NLRB, 340 U.S. 474, 488 (1951).

        A lawful work preservation objective must target a signatory employer that has the power
to give the work to the employees, the “right of control” test. NLRB v. Int’l Longshoremen’s
Ass’n, AFL-CIO, 447 U.S. 490, 504 (1980). ILWU argues that the Board committed legal error
because the shipping carriers own their refrigerated shipping containers (“reefers”), and by virtue
of that ownership, they have the ultimate right of control as to who handles the reefers. Cf. id. at
512 n.27. The ALJ rejected this claim, reasoning that “[t]hough it is true that the carriers own or
lease all of the reefers, they purchase available terminal services necessary to load, unload and
store their containers from the terminal owners or operators.” The ALJ relied on evidence that
“when the Port [of Portland] leased [the Terminal 6] container operation to ICTSI, it carefully
reserved the historical practices that developed over the years with respect to the work performed
by [IBEW]” and “[n]o evidence shows that the Port ever relinquished its control at any time to
anyone . . . to perform the dockside reefer work.” The Board affirmed the ALJ’s analysis that the
Port of Portland (“Port”) was the primary employer because it retained the right to control the
assignment of the dockside reefer work. Therefore, ILWU labor practices targeted against
ICTSI, the shipping carriers, or any other neutral party to pressure the Port to re-assign the
dockside reefer work were unlawful secondary boycotts targeting an employer that did not have
the right to control the work. Because the Board’s conclusion applied the proper legal standard
and its factual findings regarding the Port’s right of control over the reefer work are supported by
substantial evidence, we need not opine on whether the contested dockside reefer work was fairly
claimable by ILWU. Therefore, we deny ILWU's petition with respect to this issue.

        The petitioners’ remaining arguments for review seek to have us redetermine factual
questions and the conclusive determination made by the Board. Upon review of the record and
the arguments of counsel, we conclude that the Board’s decisions survive the standard of review
and that the Board did not abuse its discretion with respect to its rulings on ILWU’s motions.
Furthermore, the Board’s conclusions of law are all reasonable and must be upheld. See
Chevron, U.S.A. Inc. v. NRDC, 467 U.S. 837, 843-44 (1984).




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       For these reasons, the ILWU’s petition is denied and the Board’s cross-application for
enforcement is granted.

        Pursuant to D.C. Circuit Rule 36, this disposition will not be published. The Clerk is
directed to withhold issuance of the mandate herein until seven days after resolution of any
timely petition for rehearing or petition for rehearing en banc. See Fed. R. App. P. 41(b); D.C.
Cir. R. 41.
                                                Per Curiam

                                                             FOR THE COURT:
                                                             Mark J. Langer, Clerk

                                                     BY:    /s/
                                                            Ken Meadows
                                                            Deputy Clerk




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     NOTICE: This opinion is subject to formal revision before publication in the                 AMENDED CONCLUSIONS OF LAW
        bound volumes of NLRB decisions. Readers are requested to notify the Ex-
        ecutive Secretary, National Labor Relations Board, Washington, D.C.             1. Delete Conclusion of Law 8.
        20570, of any typographical or other formal errors so that corrections can
        be included in the bound volumes.                                                                      ORDER
International Longshore and Warehouse Union,                                            The National Labor Relations Board adopts the rec-
     AFL–CIO, and International Longshore and                                        ommended Order of the administrative law judge as
     Warehouse Union, Local 8, AFL–CIO, and In-                                      modified below and orders that the Respondents, Interna-
     ternational Longshore and Warehouse Union,                                      tional Longshore and Warehouse Union, AFL–CIO, San
     Local 40, AFL–CIO, and ICTSI, Inc.                                              Francisco, California, International Longshore and
International Longshore and Warehouse Union,                                         Warehouse Union, Local 8, AFL–CIO, Portland, Oregon,
      AFL–CIO, and International Longshore and                                       and International Longshore and Warehouse Union, Lo-
      Warehouse Union, Local 8, AFL–CIO, and In-                                     cal 40, AFL–CIO, Portland, Oregon, their officers,
      ternational Longshore and Warehouse Union,                                     agents, and representatives, shall take the action set forth
      Local 40, AFL–CIO, and Port of Portland. Cas-                                  in the Order as modified.
      es 19–CC–082533, 19–CD–082461, 19–CC–                                             1. Delete paragraphs 1(e) and 2(a) and renumber the
      087504, 19–CD–087505, and 19–CC–082744                                         subsequent paragraphs accordingly.
                                                                                        2. Substitute the attached notice for that of the admin-
                    September 24, 2015                                               istrative law judge.
                 DECISION AND ORDER                                                     Dated, Washington, D.C. September 24, 2015
    BY CHAIRMAN PEARCE AND MEMBERS HIROZAWA
                      AND MCFERRAN                                                           ______________________________________
   On August 28, 2013, Administrative Law Judge Wil-                                         Mark Gaston Pearce,           Chairman
liam L. Schmidt issued the attached decision. The Re-
spondents filed exceptions and a supporting brief. The                               dockside reefer work at T6 to employees represented by Respondent
                                                                                     ILWU Local 8, after the Board issued the 10(k) decision, supra, award-
General Counsel, Charging Party ICTSI, Inc., and Charg-                              ing that work to employees represented by another union. On June 17,
ing Party Port of Portland filed answering briefs. The                               2013, however, the Federal District Court for the District of Oregon
Respondents filed a reply brief.1                                                    vacated the Board’s 10(k) decision on the ground that the Board lacked
   The National Labor Relations Board has delegated its                              statutory jurisdiction to award the work to the Port’s electricians be-
                                                                                     cause, as public-sector employees, they are not employees within the
authority in this proceeding to a three-member panel.2                               meaning of Sec. 2(2) of the Act. Pacific Maritime Association v.
   The Board has considered the decision and record in                               NLRB, Case No. 3:12–CV–02179–MO (D.Or.) (unpublished decision).
light of the exceptions and briefs and has decided to af-                            By Order dated February 20, 2014, the Board granted the General
firm the judge’s rulings, findings,3 and conclusions and                             Counsel’s motion to sever, hold in abeyance, and postpone briefing on
                                                                                     the Sec. 8(b)(4)(D) allegations in this case. In light of that Order, we
to adopt the recommended Order as modified.4                                         do not address the Respondents’ exceptions to the judge’s 8(b)(4)(D)
   1
                                                                                     findings at this time.
      In addition, pursuant to Reliant Energy, 339 NLRB 66 (2003), the                  We find no merit in the Respondents’ exception to the judge’s denial
Respondents filed two postbrief letters calling the Board’s attention to             of the Respondents’ motion to reopen the record to admit and consider
recent case authority.                                                               certain “new evidence and law.” The Respondents’ motion describes
   By Order dated September 12, 2014, the Office of Executive Secre-                 the evidence as having been “created . . . months after the close of the
tary denied the Respondents’ motion to consolidate this case with an-                hearing on August 29, 2012.” Accordingly, we agree with the judge
other case (19–CC–100903 et al.), which involves similar allegations                 that the evidence does not meet the Board’s standard for “newly dis-
against the Respondents for engaging in job actions against ICTSI.                   covered evidence” under Sec. 102.48(d)(1) of the Board’s Rules and
   2
      Member Miscimarra is recused and took no part in the considera-                Regulations. See Allis-Chalmers Corp., 286 NLRB 219, 219 fn. 1
tion of this case.                                                                   (1987) (evidence not “newly discovered” if it came into existence fol-
   3
      We adopt the judge’s finding that the Respondents violated Sec.                lowing the close of the hearing). For the same reason, we deny the
8(b)(4)(i) and (ii)(B) of the Act by engaging in a series of job actions             Respondents’ motion requesting that the Board take administrative
against ICTSI Oregon, Inc. (ICTSI), and the steamship carriers that call             notice of that evidence. We also deny the Respondents’ motion to take
on Terminal 6 (T6) of the Port of Portland (Port) with an unlawful                   administrative notice of a brief filed by the General Counsel in Califor-
“cease doing business” object, namely seeking the Port’s relinquish-                 nia Cartage Co. v. NLRB, 822 F.2d 1203 (D.C. Cir. 1987), and ICTSI’s
ment of control over the dockside reefer work at T6 for the benefit of               motion to take administrative notice of the General Counsel’s excep-
the workers represented by Respondent ILWU Local 8. In affirming                     tions and briefs in International Longshore and Warehouse Union
the judge’s 8(b)(4)(B) findings, we do not rely on his references to the             (Kinder Morgan Bulk Terminals), 19–CC–092816.
Board’s 10(k) decision in this dispute, Electrical Workers Local 48                     4
                                                                                           We shall amend the judge’s conclusions of law and modify the
(ICTSI Oregon, Inc.), 358 NLRB No. 102 (2012).                                       judge’s recommended Order to conform to the violations found. In
   The judge also found that the Respondents violated Sec. 8(b)(4)(D)                addition, we shall substitute a new notice to conform to the Order as
by filing, maintaining, and prosecuting grievances or lawsuits against               modified and in accordance with our decision in Durham School Ser-
ICTSI and the steamship carriers, in order to force the Port to assign the           vices, 360 NLRB No. 85 (2014).



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2                                DECISIONS OF THE NATIONAL LABOR RELATIONS BOARD


                                                              or any other similarly situated neutral employer at Ter-
         ______________________________________               minal 6, in order to force or require any of them or any
         Kent Y. Hirozawa,             Member                 other neutral employers or persons to cease doing busi-
                                                              ness with the Port of Portland.
         ______________________________________                  WE WILL NOT in any like or related manner induce or
         Lauren McFerran,              Member                 encourage any individual employed by any person en-
                                                              gaged in commerce or in an industry affecting commerce
                                                              to engage in a strike or a refusal in the course of their
(SEAL)         NATIONAL LABOR RELATIONS BOARD                 employment to use, manufacture, process, transport, or
                                                              otherwise handle or work on any goods, articles, materi-
                       APPENDIX                               als, or commodities or to perform any services; or threat-
                  NOTICE TO EMPLOYEES                         en, coerce, or restrain any person engaged in commerce
                 POSTED BY ORDER OF THE                       or in an industry affecting commerce, where in either
            NATIONAL LABOR RELATIONS BOARD                    case an object thereof is to force or require any person to
          An Agency of the United States Government           cease using, selling, handling, transporting, or otherwise
                                                              dealing in the products of any other producer, processor,
The National Labor Relations Board has found that we
                                                              or manufacturer, or to cease doing business with any
violated Federal labor law and has ordered us to post and
                                                              other person.
obey this notice.
    FEDERAL LAW GIVES YOU THE RIGHT TO                                    INTERNATIONAL LONGSHORE AND WAREHOUSE
                                                                          UNION, AFL–CIO
        Form, join, or assist a union
        Choose representatives to bargain with us on                      INTERNATIONAL LONGSHORE AND WAREHOUSE
    your behalf                                                           UNION, LOCAL 8, AFL–CIO
        Act together with other employees for your bene-
    fit and protection                                                    INTERNATIONAL LONGSHORE AND WAREHOUSE
        Choose not to engage in any of these protected                    UNION, LOCAL 40, AFL–CIO
    activities.
   WE WILL NOT induce or encourage employees of                 The Board’s decision can be found at
ICTSI Oregon, Inc. (ICTSI) to withhold their services,        www.nlrb.gov/case/19-CC-082533 or by using the QR
engage in slowdowns and work stoppages, or interfere          code below. Alternatively, you can obtain a copy of the
with the lawful and proper work assignments of other          decision from the Executive Secretary, National Labor
employee groups that perform services at Terminal 6 in        Relations Board, 1015 Half Street, S.E., Washington,
Portland, Oregon, in order to force or require ICTSI, or      D.C. 20570, or by calling (202) 273–1940.
any sea-going carrier, to cease using the services provid-
ed at Terminal 6.
   WE WILL NOT directly or indirectly threaten in any
manner to shut down or otherwise disrupt ICTSI’s opera-
tions at Terminal 6, Portland, Oregon, in order to force or
require ICTSI or any other person to cease doing busi-
ness with the Port of Portland at Terminal 6.
   WE WILL NOT fail and/or refuse to fulfill ICTSI’s time-
ly requests for the referral of qualified employees for
work at Terminal 6 in accord with the Pacific Coast
Longshore and Clerks Agreement in order to force or           Mara-Louise Anzalone, Lisa J. Dunn, and Rachael Harvey,
require ICTSI or any other person to cease doing busi-           Attys., for the Acting General Counsel.
                                                              Michael T. Garone, Atty. (Schwabe, Williamson & Wyatt), of
ness with the Port at Terminal 6.                                Portland, Oregon, for ICTSI, Inc.
   WE WILL NOT file, process, maintain, and/or prosecute      Kathy A. Peck, Atty. (Williams, Zografos & Peck), of Lake
grievances or lawsuits, or threaten to engage in such            Oswego, Oregon, Randolph C. Foster and Daniel G Muller,
conduct against ICTSI, Terminal Maintenance Corpora-             Attys. (Stoel, Rives LLP), of Portland, Oregon, for the Port
tion (TMC), COSCO North America, Inc., Hanjin Ship-              of Portland.
ping America, LLC, “X” Line America, Inc., Hamburg            Norman Malbin, Atty., of Portland, Oregon, for IBEW Local
Sud North America, Inc., and Hapag Lloyd America Inc.,           48.
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                                                              LONGSHOREMEN LOCAL 8                                                             3

Robert Remar and Eleanor Morton, Attys. (Leonard Carder,                      (the dockside reefer work)—applicable both here and there—as
   LLP), of San Francisco, California, for ILWU Locals 8 and                  follows:
   40.
                                                                                   Plugging, unplugging, and monitoring of refrigerated cargo
Kirsten Donovan, ILWU Director of Contract Administration,
                                                                                   containers for ICTSI, Inc., at Terminal 6 of the Port of Port-
   of San Francisco, California, for the ILWU.
                                                                                   land, Portland, Oregon.
                              DECISION
                                                                                 ILWU Local 8 intervened and participated in the 4-day 10(k)
                      STATEMENT OF THE CASE                                   hearing that commenced on May 24. On August 13, during a
   WILLIAM L. SCHMIDT, Administrative Law Judge. I heard                      recess in this proceeding, the Board issued its 10(k) decision
this case in Portland, Oregon, over the course of 12 days be-                 and determination in Case 19CD080738 awarding the disputed
tween July 31 and August 29, 2012.1 This proceeding seeks to                  work to the Port’s public employees represented by Local 48.
resolve the legality under Section 8(b)(4)(i), (ii)(B), and (D) of            Electrical Workers Local 48 (ICTSI Oregon, Inc.), 358 NLRB
the National Labor Relations Act (the Act or NLRA) of several                 No. 102 (2012) (the 10(k) case). The Board’s decision also
job actions the International Longshore and Warehouse Union,                  affirmed the hearing officer’s denial of a motion to intervene in
AFL–CIO (ILWU), and its Locals 8 and 40 undertook to com-                     that proceeding by the Pacific Maritime Association (PMA).
pel the reassignment of work historically performed by workers                   After this hearing closed, the PMA commenced a Leedom v.
represented by Local 48 of the International Brotherhood of                   Kyne action in the Federal District Court for the District of
Electrical Workers, AFL–CIO (Local 48) at Terminal 6 (T6),                    Oregon challenging the Board’s authority 10(k) case to award
one of the marine terminals owned by the Port of Portland (the                the dockside reefer work to workers who, by definition, are not
Port), a municipal subdivision of the State of Oregon, after the              employees under the NLRA, namely the electricians represent-
Port leased that facility to ICTSI Oregon, Inc. (ICTSI or Com-                ed by Local 48 who work for the Port, a public institution. On
pany).2                                                                       June 17, 2013, the court vacated the Board’s decision and de-
   This proceeding is intertwined with the unfair labor practice              termination in the 10(k) case on the ground that the Board
charge in Case 19–CD–080738 filed by ICTSI against Local 48                   lacked statutory jurisdiction to award the dockside reefer work
on May 10. In that case, the Regional Director for Region 19                  at T6 to the Port’s electricians under Section 8(b)(4)(D) of the
of the National Labor Relations Board (NLRB or the Board)                     Act because they are not employees within the meaning of
issued a notice of hearing pursuant to Section 10(k) on May                   Section 2(2).
17.3 His 10(k) hearing notice described the work in dispute                      Following the district court’s decision, Respondent ILWU
                                                                              filed a motion with me to reopen the record in order to receive
    1
      Unless shown otherwise, all further dates refer to the 2012 calen-      further documentary evidence. I provided all other parties an
dar year.                                                                     opportunity to respond. Following receipt of their responses, I
    2
      In Sec. 8(b)(4) Congress declared that it is an unfair labor practice   took official notice of the court’s June 17 order, notified the
for a labor organization to “(i) to engage in, or to induce or encourage      parties I would also take official notice of any Board decision
any individual employed by any person engaged in commerce or in an            about appealing the court’s order, denied Respondents’ motion
industry affecting commerce to engage in, a strike or a refusal in the        in all other respects, and submitted Respondents’ documents
course of his employment to use, manufacture, process, transport, or          attached to its motion to reopen to the rejected exhibit file.
otherwise handle or work on any goods, articles, materials, or commod-
ities or to perform any services; or (ii) to threaten, coerce, or restrain
                                                                                 I now take official notice of the information provided to all
any person engaged in commerce or in an industry affecting com-               parties that the Board’s decision to appeal the court’s order
merce,” where in either case the object is “(B) forcing or requiring any      vacating the 10(k) award is still pending. In the absence of a
person to cease using, selling, handling, transporting, or otherwise          definitive decision by the Board to accept the district court’s
dealing in the products of any other producer, processor, or manufac-         decision as the law of the case, I deem myself obligated to ap-
turer, or to cease doing business with any other person, or forcing or        ply the Board’s decision in the 10(k) case for purposes of this
requiring any other employer to recognize or bargain with a labor or-         administrative adjudication. See Iowa Beef Packers, 144
ganization as the representative of his employees unless such labor           NLRB 615 (1963), and the cases cited at fns. 1 and 2.
organization has been certified as the representative of such employees
under the provisions of Section 9” or “(D) forcing or requiring any
                                                                                 On June 5, ICTSI also filed Case 19–CD–082461 against
employer to assign work to employees in a particular union, trade, craft      ILWU, and Locals 8 and 40 that made the same claims and
or class rather than to employees in another union, trade, craft, or class,   involved the same disputants that earlier participated in the
unless the employer is failing to conform to a Board order or certifica-      10(k) case. For that reason, the Regional Director held this
tion determining the representative of the employees performing the           charge in abeyance.
disputed work.”                                                                  ICTSI filed Case 19–CC–082533 against the ILWU and Lo-
    3
      When reasonable cause exists to believe that a labor organization       cals 8 and 40 on June 6. The Port followed on June 8 by filing
has violated Sec. 8(b)(4)(D) as alleged in a timely filed charge, Sec.        Case 19–CC–082744 against the same labor organizations.
10(k) requires the Board to hear and determine the dispute out of which
that unfair labor practice arose unless the parties submit satisfactory
                                                                              The Regional Director consolidated these two charges and is-
evidence within 10 days after being provided notice that a charge has
been filed that they have adjusted, or have agreed upon a method for          mination made in a 10(k) proceeding, or their own adjustment means,
voluntarily adjusting the dispute. See NLRB v Radio & Television              Sec. 10(k) provides for the voluntary dismissal of the 8(b)(4)(D)
Broadcast Engineers Local 1212 (Columbia Broadcasting System), 364            charge. Here, the 10(k) hearing went forward on May 24 because no
U.S. 573 (1961). If the parties comply with a work assignment deter-          voluntary means of adjusting this dispute had been advanced.
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4                                        DECISIONS OF THE NATIONAL LABOR RELATIONS BOARD


sued a consolidated complaint and notice of hearing on June 24                  Respondents also admit that they are each labor organiza-
alleging that the ILWU and Locals 8 and 40 violated Section                  tions within the meaning of Section 2(5) of the Act. In addi-
8(b)(4)(i) and (ii)(B) (the June complaint).                                 tion, in the 10(k) case, the Board found that IBEW Local 48 is
   During this hearing, counsel for the Acting General Counsel               also a labor organization within the meaning of Section 2(5) of
(AGC) moved to amend the June complaint twice. I granted                     the Act.
both motions. The first amendment on July 24 substituted re-                              II. ALLEGED UNFAIR LABOR PRACTICES
vised substantive allegations in place of those set forth in para-
graph 6(v) and added paragraph 6(y) to the June complaint.                                            A. Introduction
The second amendment to the June complaint dated August 20                      This highly complex and very technical labor dispute has
(after the Board’s award in the 10(k) case) consolidated Case                arisen over the performance of a relatively simple work task.
19–CD–082461, earlier held in abeyance by the Regional Di-                   For nearly four decades well-trained, highly-skilled tradesmen
rector, with the other charges in the June complaint.                        who are represented by an IBEW local union have performed
   The August 20 amendment also made numerous changes to                     the dockside reefer work at T6. The work calls upon little, if
the substantive allegations in the June complaint. Apart from                any, of the technical craft skills traditionally acquired by these
the addition of new allegations based on Case 19–CD–082461,                  tradesmen through their rigorous apprenticeship program or
this amendment modified the several allegations originally                   their subsequent job experience performing tasks that would be
made in the June 20 complaint.4 Specifically, it modified the                very dangerous for untrained workers. Yet this particular work
allegations in the following subparagraphs of the June com-                  task takes place smack in the middle of a complex stevedoring
plaint: 4(b), 6(b). (c), (f), (g), (i), (j), (k), (l), (m), (n), (o), (p),   operation traditionally performed by longshore workers and
(v), and (w), and 12, and the prayer for relief. It also added the           marine clerks represented by ILWU local unions, an industrial
following subparagraphs (shown in the August 20 amendment                    labor organization concerned with technological advances that
document only): 5(d), 6(aa), (bb), (cc), and 11(b) and (c). Fi-              imperil the livelihood of their members.
nally, it withdrew the allegations contained in subparagraphs                   On the surface, the decisionmaking underlying this division
6(d) and (q) of the June complaint. Together, the July 24 and                of labor at T6 could not appear to be more ill-conceived. Ter-
August 20 amendments to the June complaint resulted in an                    minal Manager Jim Mullen, the onsite ICTSI management offi-
overall allegation that the Respondents had engaged in conduct               cial affected most by this dispute agreed that this specific work
that violated Section 8(b)(4)(i), (ii)(B), and (D).                          arrangement, which was confirmed by the NLRB in the middle
   On August 17, following the Board’s 10(k) award in Case                   of this proceeding, is not an efficient arrangement. Even
19–CD–080738, ICTSI filed Cases 19–CC–087504 and 19–                         though his personal assessment is clearly contrary to his em-
CD–087505 against the ILWU, and Locals 8 and 40. After                       ployer’s interest, the detailed facts described below suggest that
ITCSI amended both charges on August 22, the Regional Di-                    his professional viewpoint is an understatement.
rector consolidated the two cases and issued another consoli-                   Each of the labor organizations competing for the work,
dated complaint on August 23 (the August complaint) that also                ILWU Local 8 and IBEW Local 48, assert a contractual basis
alleged that the ILWU along with its Locals 8 and 40 violated                for performing the dockside reefer work, claiming that it
Section 8(b)(4)(i), (ii)(B), and (D).                                        amounts to the kind of “maintenance” or “maintenance and
   On the entire record,5 including my observation of the de-                repair” work covered by the collective-bargaining agreements
meanor of the witnesses, and after considering the briefs filed              under which they operate. As detailed below, the contractual
by the AGC, ICTSI, the Port, the ILWU and its Locals 8 and                   language on which the competing parties rely is vague and
40, I make the following                                                     ambiguous.       Instead, the applicable collective-bargaining
                          FINDINGS OF FACT                                   agreements make only broad references to maintenance work
                                                                             and the parties arguments over their right to perform this work
        I. JURISDICTION AND LABOR ORGANIZATION STATUS
                                                                             fan out from that generic source.
   Respondents admit and I find that the Company, an Oregon                     Local 48’s claims rest primarily on the fact that the workers
corporation, with an office and place of business located at T6,             it represents have performed the disputed work at T6 undis-
is engaged in the business of operating a cargo handling facili-             turbed for nearly four decades before the time this dispute
ty. During the 12-month period prior to June 15, 2012, a repre-              arose. Local 8’s claim is grounded essentially on internal inter-
sentative period, ICTSI, in the conduct of its business at T6,               pretations in recent years of provisions in the coastwise
purchased goods and supplies valued in excess of $50,000 di-                 PMA/ILWU collective-bargaining agreement applicable to
rectly from entities located outside the State of Oregon. Re-                West Coast ports which recognize the dockside reefer work as
spondents further admit, and I find, that ICTSI has been, at all             traditional stevedoring work that must be performed by long-
material times, an employer engaged in commerce within the                   shore workers with specific exceptions at several ports other
meaning of Section 2(2), (6), and (7) of the Act.                            than Portland.
                                                                                For reasons detailed below, a preponderance of the evidence
   4
     By that time, the hearing testimony provided counsel for the AGC        supports a conclusion that, when the Port leased its T6 contain-
with sufficient “discovery” about the identity of the Respondent’s           er facility to ICTSI in May 2010, it reserved the right to per-
agents previously alleged as “unknown agents” in the June complaint.         form certain work itself, including among other tasks, the
   5
     I took official notice of the hearing record in the 10(k) case, and     dockside reefer work in accord with the lengthy historical prac-
have considered evidence from that record in making my findings here.
                                                                             tice at that terminal. Some of these tasks are specifically
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                                                            LONGSHOREMEN LOCAL 8                                                             5

spelled out in the Port’s lease with ICTSI but others are de-               craft unions plus a municipal workers union. Throughout this
scribed in terms of the work historically performed under the               period, the Port also employed administrative and professional
collective-bargaining agreement between the Port and Local 48.              personnel to market its terminal services and to manage its
From the outset, both the Port and ICTSI construed their lease              agreements with the carriers (the steamship lines) using the
to include the dockside reefer work within the responsibilities             Port’s terminal services to process their cargo.
retained by the Port. Even though the evidence shows that                      MTC/PA, which continues to conduct operations at other
Local 8 made a demand for the dockside reefer work at the time              United States marine terminals, employed the longshore and
that ITCSI actually took over container operations at T6 in                 marine clerk labor at T6 pursuant to the terms of the PMA’s
2011, ITCSI promptly rejected that demand citing specific lease             coastwise collective-bargaining agreement with the ILWU.
terms. Yet, another year passed on top of the previous four                 Insofar as is known, MTC/PA never had a collective-bargaining
decades before Local 8, Local 40, and the ILWU initiated vari-              agreement with any of the craft unions that represent
ous actions to directly pressure numerous entities other than the           nonstevedore workers in and around T6 or the other Port termi-
Port in an effort to secure the assignment of the tasks involved            nals.
to the workers represented by Local 8.                                         The PMA, a San Francisco-based multiemployer bargaining
             B. The Setting and the Involved Entities                       agency, negotiates and administers on behalf of its employer
                                                                            members a coastwise maritime labor agreement with the
   As noted, the Port of Portland is a political subdivision of the         ILWU. Its membership includes domestic carriers, internation-
State of Oregon. It is governed by the Port Commission whose                al carriers, and stevedores that operate in California, Oregon,
members are appointed by the Governor of Oregon. The Port                   and Washington. PMA policy is established and controlled by
owns T6, a large marine terminal on the Columbia River at                   an 11-member board of directors. The 2011 PMA annual re-
Portland, some 100 nautical miles inland from the Pacific                   port shows that seven members of the board were officials of
Ocean. Terminal 6, situated on a 400-plus acre site, is primari-            international carriers, two were officials of domestic carriers,
ly a container terminal designed and equipped to load and un-               and two were officials of stevedoring companies, similar to
load seagoing container vessels, and to park incoming and out-              ICTSI, with no carrier operations.
going cargo containers while awaiting shipment by land or sea.                 The principal agreement between the PMA and the ILWU is
Some smaller segments of T6 also serve as a terminal for im-                known as the Pacific Coast Longshore and Clerks Agreement
ported autos and for break-bulk goods but this matter concerns              (PCL&CA). This coastwise agreement applies to all PMA
only the container operation. The Port owns and operates three              members engaged in operations at West Coast marine terminals
other nearby marine terminals on the Willamette River, but                  from San Diego, California, to Bellingham, Washington. The
none of these other terminals handle containerized cargo nor                PCL&CA consists of two documents: (1) the Pacific Coast
are any of these other terminals involved in this proceeding.6              Clerks Contract Document (PCCCD) governing the marine
In addition to its marine terminals, the Port also owns and oper-           clerks’ terms and conditions of employment, and (2) the Pacific
ates Portland International Airport.                                        Coast Longshore Contract Document (PCLCD) governing the
   The Port commenced container operations at T6 in 1974.                   longshore workers’ terms and conditions of employment. The
Between 1974 and 1993, the Port itself operated all aspects of              term of the current PCL&CA runs from July 1, 2008, until July
the terminal, directly employing all of the workers there. The              1, 2014. This dispute deals almost exclusively with the
longshore employees worked under the terms of a local collec-               PCLCD.
tive-bargaining agreement described in detail below. From                      By 2006, the Port remained the only public authority directly
1993 until February 2011, the Port continued to operate T6 but              operating a marine terminal in the United States. The wide-
retained a stevedoring contractor, Marine Terminals Corpora-                spread industry trend toward privatization lead Port executives
tion and its successor, Ports America (MTC/PA), on a cost-plus              to initiate an internal review of the business model then in use
basis to manage the T6 stevedoring operations. Unlike the                   for the operation of T6 with the belief that further privatization
Port, MTC/PA held membership in the PMA throughout its                      at Portland could lead to greater use of its facilities, one of the
tenure at T6.7                                                              smaller container terminals on the West Coast. Eventually, the
   However, the Port continued to directly employ other work-               Port began to consider the complete privatization of the T6
ers to maintain the physical facilities and equipment it owned at           container operation using a “concession agreement” model used
T6 as well as at other Port-owned terminals. These other work-              at other ports. This model provided for a long-term lease ar-
ers included the Local 48-represented electricians and others in            rangement with a private stevedore that involves a large upfront
the skilled trades pursuant to a collective-bargaining agreement            payment followed by smaller annual payments.
with the District Council of Trade Unions (DCTU), an umbrella                  In the early part of 2007, the Port solicited a Request for
labor organization in Portland comprised of several different               Qualifications (RFQ) throughout the industry from those
                                                                            deemed qualified to operate T6. The initial RFQ contemplated
   6
       Portland is situated at the confluence of the Columbia and           a 75-year lease arrangement. In September 2008, the Port pre-
Willamette Rivers.                                                          pared and made available to the prospective concessionaires a
   7
      Because the PMA provides its member companies with payroll
                                                                            draft lease agreement. Importantly, that draft also contained
services, the Port ceased to have a “payroll relationship” with the Local
8 longshore workers and the Local 40 marine clerks when it engaged          provisions requiring any potential lessee to honor the historical
MTC/PA as the stevedoring contractor. Instead, these workers received       division of labor maintained by the Port at T6, a requirement
their weekly payroll checks from the PMA.                                   that is at the core of this dispute. Between that time and No-
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6                                    DECISIONS OF THE NATIONAL LABOR RELATIONS BOARD


vember 2008, the Port received proposals from a dozen pro-                     C. The Disputed Dockside Reefer Work at T6
spective terminal operators, including ICTSI’s Manila-based             To preserve their contents, certain commodities passing
parent. However, the near collapse of the global shipping mar-       through a marine terminal must be shipped in refrigerated con-
ket that year caused the Port to temporarily abandon this initia-    tainers. The carriers own or rent all of the containers, including
tive in November.                                                    the reefers. The determination as to whether a commodity must
   Port officials notified each of its RFQ respondents about its     be transported in a reefer is one made between the shipper and
decision to put the project on hold. During a conference call to     the carrier.
inform ICTSI officials of the Port’s decision, that company’s           When a reefer is required, the shipping documents will in-
executives urged Port executives to consider an alternate ar-        clude the specified temperature and ventilation settings. After
rangement that involved a much shorter lease term and a small-       the shipping documents are complete, the carrier books the
er upfront payment. This suggestion led to further telephone         reefer into the terminal. The booking process shows the ex-
exchanges followed by a bilateral meeting between Port execu-        pected arrival date of the reefer at the terminal as well as other
tives and ICTSI officials in March 2009. Following this initial      details necessary for terminal personnel to receive and handle
meeting, the Port and ICTSI continued negotiate for the next 13      the reefer until it is loaded on the carrier’s ship for transport to
months over the terms of a T6 lease before reaching an agree-        another marine terminal for offloading. The temperature and
ment.                                                                ventilation settings specified in the shipping documents must be
   In early May, officials of ICTSI’s parent hired Elvis Ganda,      maintained throughout the reefer’s transit.
an experienced West Coast marine terminal executive as the              Reefers arrive at T6 by truck, train, or barge. From the per-
chief executive officer of ICTSI, the subsidiary it established to   spective the longshore workers, marine clerks, and electricians
operate T6 under the soon-to-be-concluded lease. Ganda then          at T6, the process is essentially the same regardless of the
retained James Mullen, an experienced manager in the industry,       means used to transport a reefer to, or away from, the terminal.
as the T6 terminal manager, and Brian Yockey as the T6 ma-           In transit to the terminal, the refrigeration unit is operated by
rine manager responsible for terminal’s vessel operations.           the genset. Once at the terminal, the genset is removed and the
   On May 12, 2010, the Port Commission approved a 25-year           reefer is plugged into a permanent electrical outlet on the ter-
lease of T6 to ICTSI. The complex lease terms provided for a         minal grounds. Since 1974, or going back through all the time
closing date in 90 days plus a transition period while ICTSI         the Port operated T6 directly and with the aid of its contract
completed preparations for taking over the T6 container opera-       stevedore MTC/PA, the Port-employed electricians performed
tion. It also provided for the Port to assign all of its carrier     the work of plugging and unplugging the reefers as well as
agreements with various container ship owners to ICTSI and           regularly monitoring the reefers to insure that the proper tem-
for the sale of a large amount of the equipment the Port owned       perature and ventilation levels were maintained throughout its
in connection with its T6 operations.                                stay at T6. However, when reefers arrived at the terminal on a
   The lease contained two provisions discussed in more detail       container ship or were loaded onto a ship for transport, long-
below designed to retain the historical work jurisdiction of the     shore workers represented by Local 8 boarded the ship and
craft workers long employed by the Port under its collective-        performed the plugging and unplugging work. Hence, one
bargaining agreement with the DCTU. The lease also required          employee group (Local 48 electricians) has historically per-
ICTSI to reimburse the Port for the services performed by the        formed the dockside reefer work while the other group (Local 8
Port’s employees at T6, including the disputed dockside reefer       longshore workers) performed the identical work aboard ships
work involved here.                                                  berthed at T6.
   In preparation for operating T6, ICTSI entered into a “ser-          When a truck carrying a “live” (refrigerated) export load en-
vice/use” agreement with the Terminal Maintenance Corpora-           ters the terminal gate, it first goes through a mechanized securi-
tion (TMC) so the latter could continue to carry on its business     ty scan. The driver then moves the vehicle on to the scales for
on the premises at the terminal. TMC, under agreements with          a weight check. While at the scales, the driver initiates contact
the various carriers that use T6 services, performs repair,          with one of ICTSI’s marine clerks represented by Local 40.
maintenance, and cleaning work on the carrier-owned or leased        During this gate transaction, the driver provides information
equipment, including repairs to container chassis, refrigerated      concerning the load and the marine clerk designates a “yard
containers (reefers), nonrefrigerated containers (cans), and         spot” where the reefer will ultimately be unloaded or
diesel generators (gensets) that provide electrical power to op-     “decked.”8 The clerk then instructs the driver to pull up to the
erate the reefers while in transit over land. None of the work       reefer check-in area (reefer blocks) a short distance beyond the
performed by TMC is in dispute. TMC employs mechanics                scales to await an initial inspection by a Port-employed electri-
represented by Local 8. Dave Echels manages the TMC opera-           cian.
tion; Preston Foster oversees the work of the Local 8-                  Meanwhile, the marine clerk also notifies a Port-employed
represented employees.                                               electrician about the arrival of a reefer and provides the electri-
   ICTSI joined the PMA in or about June 2010, after the lease       cian with relevant information that includes the reefer number,
was signed and approved but well in advance of commencing            its specified temperature and ventilation settings, and other
its T6 operations on February 12, 2011.
                                                                       8
                                                                           A large portion of the T6 acreage consists is devoted to the “con-
                                                                     tainer yard,” essentially a parking lot for containers divided into sec-
                                                                     tions and spots where the containers are stacked.
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                                                             LONGSHOREMEN LOCAL 8                                                                   7

relevant data including the reefers’ section and slot assign-                to its agreement with the DCTU.11 The relevant portion of the
ment.9 After receiving this report, a Port electrician assigned to           scope of the work provision contained in the most recent DcTU
be “on the gate” that day proceeds to the reefer check-in area to            agreement, effective from July 1, 2009, through June 30, 2012,
verify and record the arrival temperature and ventilation set-               provides as follows:
tings shown on the reefer’s gauges. If the settings conform to
                                                                                  This Agreement shall cover all construction, demolition, in-
the information provided by the marine clerk, the electrician
                                                                                  stallation, and maintenance assignments which have been his-
instructs the driver to proceed to its assigned spot in the con-
                                                                                  torically and consistently performed by employees covered
tainer yard and follows the truckdriver to that location in his
                                                                                  under this Agreement, and such work assignments will con-
own vehicle.
                                                                                  tinue under this Agreement at all marine cargo handling facili-
   If, upon the initial inspection at the reefer blocks, the electri-
                                                                                  ties owned and operated by the Port, including any marine
cian finds the reefer’s temperature and ventilation settings are
                                                                                  cargo handling facilities leased and operated by the Port.
outside the carrier’s specifications, this condition is immediate-
                                                                                  ....
ly reported to a marine clerk. The clerk, in turn, informs a car-
                                                                                  The scope of this Agreement shall include any marine cargo
rier representative and requests instructions as to whether to
                                                                                  handling facilities leased by the Port to an independent opera-
accept a “bad load.” On occasion, the carrier might request
                                                                                  tor to the extent the Port retains the responsibility for the
TMC, the carriers’ equipment maintenance subcontractor at the
                                                                                  maintenance or repair of any such leased facility or facilities.
site, to have a mechanic inspect and correct the problem if pos-
                                                                                  In the event the Port leases any existing facilities that are cov-
sible. If the TMC mechanic quickly succeeds, the reefer might
                                                                                  ered under this Agreement to an independent operator, and
be accepted; if not, the carrier might direct the marine clerk to
                                                                                  such operator is responsible for maintenance of such facility,
reject the reefer for shipment. Regardless, the carrier makes all
                                                                                  the jurisdiction of the respective crafts shall be maintained in
decisions about the handling of questionable loads. Estimates
                                                                                  respect to any personnel employed by such operator to per-
as to how frequently a bad load arrives ranged from once a
                                                                                  form work covered by the scope of this Agreement and such
week to once every 3 weeks.
                                                                                  employees performing such work shall receive not less than
   Absent any problem, a TMC mechanic (also provided notice
                                                                                  the terms and conditions of this Agreement.
about the arrival of a reefer) meets the truckdriver at the desig-
nated container location, removes the genset (also owned by the                 Presumably, Port officials concluded at some time that this
carrier) and takes it to the TMC shop at the terminal. When                  nebulous scope of work provision or it predecessor, applicable
that is complete, a Local 8-represented operator employed by                 to all of the workers in all of the trades employed by the Port
ICTSI “decks” the reefer, i.e., removes the reefer from the truck            under the DcTU agreement, included the specific tasks of plug-
chassis utilizing a machine called a “reach stacker” and puts the            ging, unplugging, and monitoring reefers decked at T6 and
reefer into the designated spot at the container yard, which                 assigned that work to the electricians covered by the DCTU
might involve stacking the reefer on top of one or more reefers              agreement. No one provided the underlying rationale for this
already decked in that designated spot. After the reefer has                 anomalous assignment decision obviously made long ago but
been decked, the Local 48-represented Port electrician then                  ICTSI continued the practice of using the Port’s electricians to
plugs the reefer into a receptacle on a nearby reefer electrical             perform the disputed reefer work rationalizing that the lease
bank, checks briefly for the proper operation of the container’s             required it to honor the historical work jurisdiction of those
refrigeration unit, and enters the reefer into a monitoring log              workers whose terms and conditions of employment were pro-
maintained by the Port electricians.                                         vided for under the Port/DCTU agreement.
   Typically, a reefer will remain in the container yard a few                  Unquestionably, the Local 48-represented electricians have
days awaiting shipment. During that time, Port electricians                  many other responsibilities in connection with their facility
monitor the reefers twice daily to insure that the temperature               maintenance responsibilities. Quite unlike the reefer work,
and ventilation settings have remained at the specified level.               these other responsibilities appear to require the knowledge,
The monitoring process requires a visual inspection of each                  training, and skills ordinarily associated with tradesmen who
reefer and recording the readings reflected on the reefer’s gages            work in that craft. A March 2010 position description for a
in the monitoring log.10 Although it varies by season, usually               Port “Marine Electrician” summarizes the work functions of a
there are about 60 reefers at T6 awaiting shipment at any given              Port electrician. The functions shown in the job description
time.                                                                        document include an estimate of the amount of time a Port
                                                                             electrician might expect to spend performing a particular task
         D. The Relevant Labor Relations History at T6
                                                                             along with a summary description of the separate tasks listed in
   Over the years, the Port has employed various craft workers               order of their importance. It shows the following:
at T6, including electricians represented by Local 48, pursuant
                                                                                11
   9                                                                               Along with Local 48, the other constituent members of the DCTU
      A system also exists for the Port electricians’ office to receive an
                                                                             based on the labor organizations signatory to the most recent collective-
automatic email that provides the same information.
   10                                                                        bargaining agreement with the Port are: Pacific Northwest Regional
      It is unclear whether the Local 8 longshore workers or the ship’s
                                                                             Council of Carpenters; Plumbers Local 290; Municipal Employees
own personnel performs this monitoring work after the reefer is loaded
                                                                             Local 483; Painters District Council, Local 55; Operating Engineers
aboard ship and while it remains berthed at T6.
                                                                             Local 701; and Boilermakers Local 500. None of these other unions
                                                                             figure directly in this dispute.
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8                                         DECISIONS OF THE NATIONAL LABOR RELATIONS BOARD


          (50%) 1. Perform maintenance of electrical control systems                        ILWU Local Nos. 8, and 40 to perform work as-
         on Port container cranes; the ability to troubleshoot and repair                   signments as specified in the ILWU-PMA Agree-
         large DC motors and DC motor controls; Trouble-shoot elec-                         ment dated July 12, 1984, at any ‘Public Cargo
         trical and electronic controls, including relay logic, Program-                    Handling Facilities’ operated by the Port . . ..”
         mable Logic Controller (PLC) programming and trouble                              Section 8 contains four sentences addressing the
         shooting, and radio and/or micro-wave controls. Perform                            term of the agreement. The first sentence is a zip-
         maintenance of electrical distribution systems from voltages                       per clause. The second provides that the agreement
         that range from 120 to 12.5KV volt branch circuits.                                will be effective from July 1, 1984 “until at least
         (30%) 2. Repair and/or replace any and all electrical systems                      5:00 P.M., July 1, 1987.” The third provides for an
         at Marine facilities.                                                              automatic renewal on a yearly basis absent a writ-
                                                                                            ten notice by May 1 of each year about a party’s
         (10%) 3. Install and start-up new equipment, associated feed-                      desire to modify the agreement. The final sentence
         ers, branch circuits and controls.                                                 provides for the agreement to remain in effect dur-
         (10%) 4. Gate receipt check in, plug/unplug, and monitor re-                       ing the negotiation of a new agreement.
         frigerated containers, Maintain accurate temperature records.                     Section 9 provides the Agreement “shall be binding
                                                                                            on the (Port’s) successors and assigns.”
   From the inception of container operations at T6, ILWU Lo-
cals 8 and 40 represented the Port’s longshore workers and                     Sundet testified without contradiction that the Port at one
marine clerks, respectively.12 The most recent collective bar-              time belonged to the PMA, but was expelled from that mul-
gaining agreement between the Port and these ILWU local                     tiemployer organization following a strike in the early 1970s.
unions was entered into in 1984 (the 1984 Port/ILWU agree-                  No evidence shows that the Port itself ever belonged to the
ment). Save for some very limited attachments not relevant                  PMA during any period when it directly operated T6 as a con-
here, the 1984 Port/ILWU agreement is a four-page, double-                  tainer terminal.
spaced document with half of the last page reserved for the                    The AGC’s brief cites subsection 5D of the 1984 Port/ILWU
parties’ signatures.                                                        agreement in support of the contention that Locals 8 and 40 are
   Leal Sundet, the ILWU Coast Committeeman for the Pacific                 contractually obligated to honor the traditional assignment of
Northwest area and a key player in this dispute, accurately de-             the disputed reefer work at T6. A similar finding was made in
scribed the 1984 Port/ILWU agreement as a “me too” agree-                   the 10(k) case. 358 NLRB No. 102, slip op. at p. 4. Entirely
ment that effectively adopted the terms of the 1984                         apart from the fact that the cited language in section 5D appears
PMA/ILWU coastwise collective-bargaining agreement with a                   to apply to jurisdictional allocations between the ILWU and the
few reservations.13 The 1984 Port/ILWU agreement looked to                  Teamsters rather than the IBEW or any other DCTU labor or-
the far more detailed PMA/ILWU collective-bargaining agree-                 ganization, this argument presupposes that the ICTSI assumed
ment for the essential terms and conditions of employment of                and became bound by the 1984 Port/ILWU agreement when it
the workers in the longshore and marine clerks unit at T6. It               leased the T6 container terminal. I have concluded that ICTSI
contained nine sections. At best, only four have relevance here:            never became bound by the 1984 Port/ILWU agreement.
                                                                               Claims abound in this case that the 1984 Port/ILWU agree-
                  Section 1 recites that the parties have abided by the    ment somehow remained viable as the principal agreement
                   terms of “all previous ILWU-PMA Agreements               covering the terms and conditions of employment of the long-
                   and shall now abide by the terms and conditions of       shore workers and marine clerks at T6 after ICTSI commenced
                   the current ILWU-PMA Longshore and Clerks                operating the facility by way of its annual renewal clause. I
                   Agreements, dated July 12, 1984 . . . subject to any     find those claims lack convincing evidentiary support. In fact,
                   provisions of such agreements that may be found to       Sundet testified, again without contradiction, that the Port had
                   be illegal or unenforceable.                             in the past notified Local 8 that the 1984 Port/ILWU agreement
                  Section 2, stripped of irrelevant verbiage, provides     was “null and void.” While his testimony alone would not be
                   that the Port will continue to employ “members of        sufficient to establish that the automatic renewal provision of
                                                                            the 1984 Port/ILWU agreement had been forestalled at some
    12
      In addition, ILWU Local 92 has historically represented the fore-     time in the past, his testimony is sufficient to cast a shadow
men and walking bosses at T6. Their duties include relaying manage-         over the current vitality of that agreement. But that aside, it is
ment’s assignments directives to the longshore workers and marine
                                                                            clear that when ICTSI took over the operation of T6, it did not
clerks. Local 92 is not involved in this proceeding.
   13
       Sundet formerly worked at the PMA for approximately 8 years          adopt the 1984 Port/ILWU agreement.
and then switched sides. The Longshore Division Coast Committee is a           But even assuming the continued viability of the 1984
four-member body consisting of the ILWU president and a vice presi-         Port/ILWU agreement for some period after its initial expira-
dent along with two elected coast committeemen (one representing            tion date, that changed when MTC/PA directly employed the
California terminals and the other represents the Northwest terminals)      longshore workers and marine clerks as both of those entities
that negotiates and administers the PMA/ILWU collective-bargaining          became and remained PMA members until ICTSI took over the
agreement. Before his election as a coast committeeman, Sundet held         actual operation of T6 in February 2011. As such, both
several positions with two Oregon ILWU locals, including at least a
                                                                            MTC/PA and ICTSI would have been directly bound to the
partial term as Local 8’s president. Sundet is quite knowledgeable
about the industry and its labor relations history.
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successive PMA/ILWU agreements rather than the local me-too             ment for the entire West Coast. It is composed of representa-
agreement negotiated by the Port.                                       tives of the ILWU and the PMA. The entities have an equal
   Furthermore, the only reference to the 1984 Port/ILWU                voting power within the committee so that all CLRC decisions
agreement in the T6 lease agreement merely states that the Port         are either unanimous or deadlocked. Contractually, deadlocked
provided the lessee with a copy of that agreement. Although             decisions may be referred to the coast arbitrator, currently John
the 1984 Port/ILWU agreement provides for its application to            Kagle, for resolution. With rare exception, the CLRC meets in
the parties’ successors, there is no evidence that ICTSI adopted        San Francisco where the headquarters of both organizations are
that agreement and the lease did not require it to do so. Clearly,      located. The decisions made by the CLRC bind all parties at all
ICTSI had no legal duty otherwise to adopt the 1984                     West Coast ports. A decision by the CLRC that the dockside
Port/ILWU agreement. NLRB v Burns Security Services, 406                reefer work at T6 is work covered by section 1 of the PCLCD is
U.S. 272 (1972) (holding that a successor employer does not             the foundation for the Respondents’ arguments in this dispute.
automatically assume its predecessor’s collective-bargaining               As a coast committeeman, Sundet personally participated in
agreement). Unquestionably, ICTSI has all the indicia of a              the negotiation of the 20082014 PCL&CA on the union side
successor employer at T6 under the Burns doctrine.                      and frequently participates as an ILWU representative on the
   In addition, ICTSI’s conduct negates any claim that it ever          CLRC. Prior to 1978, he testified, the dockside maintenance
intended to adopt the 1984 Port/ILWU agreement and imple-               and repair work (which from ILWU’s perspective always in-
ment its terms. Instead, on May 18, 2010, Ganda submitted an            cluded the reefer work at issue here) had been left to local
application on behalf of ICTSI for PMA membership and that              agreements. However, under the 1978 PMA/ILWU agreement,
application was accepted the following month. Additionally,             the maintenance and repair work became subject to the coast-
Ganda testified that it had been ICTSI’s intention from the             wise PCLCD. Still, that agreement provided that PMA em-
outset to become and operate as a PMA member. Some degree               ployers with a past practice of subcontracting maintenance and
of confirmation of that intention can be found in the fact that         repair work to employers that did not employ ILWU-
Mullen became a member of the PMA’s Pacific Northwest                   represented labor before the effective date of the 1978 agree-
Oregon and Columbia River Area Steering Committee, a highly             ment could continue to engage in this practice. Ultimately, this
improbable appointment for an official of an entity connected           exception was construed to permit those PMA employers to
to the PMA only by means of a local me-too agreement. For               transport their exemption to other locations, thereby leading to
these reasons, I have concluded that ICTSI’s actions demon-             the spread of this subcontracting practice at the expense of jobs
strate that it chose not to adopt the 1984 Port/ILWU agreement.         the ILWU members considered to be their own.
Instead, it chose to become bound directly to the existing                 Sundet further testified that the 2008 agreement ended the
PMA/ILWU agreement when it applied for and became a                     subcontracting of all maintenance and repair work except at
member of the PMA.                                                      those locations where a PMA member company had an existing
   The Respondents’ work preservation claim under National              collective-bargaining agreement with another labor organiza-
Woodworkers14 is grounded on their belief that ITCSI Oregon             tion to perform that work. In exchange for this concession
became bound directly by all of the terms of the PCL&CA                 from the PMA that the ILWU thought would stem the erosion
when it became a PMA member and that this coastwise collec-             of maintenance and repair jobs for the workers it represented,
tive-bargaining agreement requires member companies to use              the ILWU agreed to cooperate with the introduction of addi-
ILWU-represented workers to perform the disputed reefer work            tional mechanical and robotic equipment at West Coast termi-
at Portland. As with the DCTU agreement, the PCLCD por-                 nals designed to improve efficiency even though these techno-
tion of that agreement makes no specific reference to the dis-          logical advances would inevitably displace some ILWU equip-
puted reefer work. But section 1.7 of the PCLCD provides that           ment operators.
it applies to “the maintenance and repair of containers of any             This arrangement was implemented within the 2008
kind . . . and the movement incidental to such maintenance and          PMA/ILWU agreement by means of a Letter of Understanding
repair.” Section 1.71 provides that the agreement applies to the        (LOU) attached to the 2008 PCLCD. The LOU designated
“maintenance and repair of all stevedore cargo handling                 excepted locations to the 2008 prohibition against subcontract-
equipment” and section 1.76 requires that the “Employers shall          ing by labeling them as “red-circled,” meaning that the existing
assign work in accordance with Section 1 provisions and as              practice of using non-ILWU labor could continue but only at
may be directed by the CLRC or an arbitration award.” [Em-              those site-specific locations. From the ILWU’s perspective,
phasis added.] Section 1.76 further requires employers to de-           this approach served to stop the further spread of the practice of
fend decisions of the CLRC or the coast arbitrator in any “legal        using non-ILWU labor to perform maintenance and repair
proceeding” and states that the PMA “shall participate along            work. The LOU did not recognize any red-circle work at any
with the individual Employers assigning the work in any legal           Portland terminal.
proceeding.”15                                                             Sundet either could not or would not explain the complete
   The PCL&CA is administered by the Coast Labor Relations              exclusion of the Portland terminals from the LOU’s red-circling
Committee (CLRC) that oversees the application of the agree-            process even though the electricians at T6 had historically per-
                                                                        formed the dockside reefer work there. Bill Wyatt, the Port’s
  14
     National Woodwork Mfrs. Assn. v NLRB, 386 U.S. 612 (1967).         executive director, also stated in a June 12 letter responding to
  15
      The PMA did not seek to intervene in this unfair labor practice   a carrier executive pressuring the Port to reassign the dockside
proceeding.                                                             reefer work to ILWU-represented workers that he could not
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understand the exclusion of the Portland terminals from the                     nance and repair of all PMA-member company equipment on
LOU.                                                                            any dock owned or leased by PMA-member companies.
   However, I find it fair to infer the obvious: the reason no
                                                                                To that end, the Union feels that the PCLCD is clear on reefer
work at any Portland terminal (including specifically the T6
                                                                                repair, chassis repair, chassis tires, reefer monitoring, plug-
dockside reefer work) was red-circled in the 2008 LOU un-
                                                                                ging/unplugging of reefers in the yard, and the repair and
doubtedly resulted from the fact that MTC/PA, then the PMA-
                                                                                maintenance of all other equipment owned or operated by any
member stevedore contractor at T6, maintained no non-ILWU
                                                                                PMA-member companies. The Union asks that you respond
bargaining agreements at Portland that would qualify for red-
                                                                                to this letter in writing related to the issues mentioned above
circling under the LOU process. In addition, the Port, which
                                                                                stating your future intent of supplying that work to the ILWU
did maintain the critical non-ILWU agreement with the DCTU
                                                                                workforce.
that is at issue here, did not qualify to participate in the LOU
red-circling process because it was not a PMA member. The                     Ganda rejected O’Neil’s claim to the dockside reefer work in
Respondents’ brief at page 7 effectively concedes as much. It              a letter dated February 15.17 The reasons he provided state:
states:                                                                             Please rest assured that ICTSI has carefully considered
     Terminal 6 was not red-circled because at the time of the                  its obligations to the Union under the 2008-2014 PCLCD
     2008 contract negotiations, the Port of Portland controlled the            and the July 2008 Memorandum of Understanding and
     work as the terminal operator and was neither a member of                  plans to meet those obligations. However, certain work
     PMA nor subject to the terms of the PCLCA. The red circle                  mentioned in your letter, for example, the plugging, un-
     exception applied only to the negotiating companies who had                plugging and monitoring of reefer units as well as other
     direct CBA with other unions.                                              electrical work, such as on the container cranes, is not
                                                                                within ICTSI’s control. As you know, ICTSI is operating
For reasons described later, I find these procedural formulations
                                                                                Terminal 6 pursuant to a 25-year lease with the Port of
that precluded essential parties from participating in negotiating
                                                                                Portland, a lease that was entered into before ICTSI be-
the 2008 LOU exceptions amounts to the Respondents’ Achil-
                                                                                came a PMA member subject to the PCLCD. During the
les heel affecting the entire outcome of this case.
                                                                                course of negotiations leading to the execution of that
           E. The ILWU’s Initial Efforts to Obtain the                          lease, the Port insisted that certain work that had for many
                  Dockside Reefer Work at T6                                    years been performed by Port employees pursuant to the
   Paragraph 5 of the June complaint alleges Respondents had a                  Port’s labor agreement with the District Council of Trade
dispute with the Port over the dockside reefer work and that it                 Unions continue to be the Port’s responsibility. As a re-
engaged in a variety of activities to compel the Port to reassign               sult, Section 323(a) of the lease states that, for so long as
that work from the Port electricians to employees they repre-                   the DCTU agreement with the Port remains in effect, the
sent.                                                                           DCTU-represented employees of the Port must continue to
   ILWU officials knew about and followed the Port’s lease ne-                  perform all DTCU work covered under the DCTU Agree-
gotiations with ICTSI.16 Sundet asserted several times that he                  ment. In entering into the lease, ICTSI had to agree to ac-
had received a verbal assurance before the conclusion of the                    cept the Port’s utilization of the DCTU employees to pro-
lease negotiations with ICTSI from Sam Ruda, the Port’s direc-                  vide that work and ICTSI is further compelled, under Sec-
tor of marine and industrial development at the time, that the                  tion 2.8, not to take any action that would cause the Port to
Port would not stand in the way of the ILWU acquiring the                       be in violation of the DCTU Agreement.
dockside reefer work when the new lessee took over at T6 if the                     It is ICTSI’s understanding that the DCTU-represented
ILWU obtained it through some available arbitral process.                       employees of the Port have performed the plugging, un-
   On February 10, 2011, 2 days before the Company com-                         plugging and monitoring of the reefer units at Terminal 6
menced the actual operation of T6, Labor Relations Commit-                      since the terminal commenced operations in 1974. Simi-
teeman (LRC) William O’Neil from Local 8 sent a letter to                       larly, the DCTU-represented employees of the Port have
Ganda welcoming his company to the terminal as its new oper-                    been performing electrical work on the cranes at Terminal
ator. The letter also sought to stake Local 8’s claim to several                6 for many years. This work has clearly been covered by
types of work, including the dockside reefer work. In relevant                  DCTU Agreement in the past and continues to be so cov-
part O’Neil’s letter stated:                                                    ered.
                                                                                    Under these circumstances, ICTSI has no right to con-
     In regards to our future relationship, the Union wishes to re-             trol the work in question and must, consistent with its
     mind ICTSI that the 2008 Memorandum (sic) of Understand-                   lease obligations, refrain from any action that would inter-
     ing requires that PMA-member companies recognize their ob-                 fere with the continued performance by Port employees of
     ligations under the PCLCD. The Union understands that the                  work that that they have historically performed and that is
     contract changed significantly in 2008 in the areas of mainte-             covered by the DCTU Agreement.
   16
      At the time, Bruce Holte, Local 8’s secretary-treasurer, served as      17
a member of the Port Commission. In his role as a commissioner, he               Following O’Neil’s lead, Ganda copied Sundet with his response.
voted to approve the lease.                                                Sundet claimed to have no recollection of Ganda’s February 15 letter
                                                                           even though he conceded he could have received it.
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Section 2.8 of the Port/ICTSI lease referenced in Ganda’s letter        The grievances sought lost pay for longshore workers from the
states:                                                                 Company and the carriers for each occasion when the Port elec-
                                                                        tricians performed the dockside reefer work.18
     The Lessee acknowledges that the DCTU Work is subject to
                                                                           These grievances set in motion the contractual dispute reso-
     the DCTU’s jurisdiction under the DCTU Agreement. For so
                                                                        lution mechanism in the PCLCD. The initial step, conferences
     long as the DCTU Agreement remains in effect with respect
                                                                        within the joint port labor relations committee composed of
     to the Terminal, the Lessee shall not (i) perform, or except as
                                                                        PMA/ICTSI representatives and Local 8 officials, failed to
     permitted hereunder, cause to be performed, at the Terminal
                                                                        resolve any of them. Initially, the Portland area PMA labor
     any DCTU Work or (ii) undertake any other action that would
                                                                        relations representatives represented ICTSI and the carriers,
     cause the Port to be in violation of the terms of the DCTU
                                                                        and defended their positions denying liability for the pay-in-
     Agreement. The Lessee shall be responsible for any claims,
                                                                        lieu grievances. Eventually, a hearing was scheduled before
     including any labor claims that arise from the Lessee’s failure
                                                                        Area Arbitrator Jan R. Holmes on May 31.
     to comply with this Section 2.8. [GC Exh. 22 at 40.[
                                                                           After the arbitration hearing was scheduled, ICTSI’s attor-
And section 3.23(a) of the lease, also referenced in Ganda’s            ney, Michael Garone, contacted Todd Amidon, a senior lawyer
letter, provides:                                                       in the PMA’s legal department to discuss the grievances. The
     The Port shall, for so long as the DCTU Agreement remains          two exchanged a few phone calls and emails in the early part of
     in effect with respect to the Terminal, make available to the      May. Garone sent a draft brief to Amidon the he had prepared
     Lessee the DCTU Employees for the provision of the DCTU            in support of the Company’s position. After reviewing
     Work. The Lessee shall accept the Port’s utilization of the        Garone’s draft and discussing the grievances with the PMA’s
     DCTU Employees with respect to the provision of the DCTU           labor relations professionals, Amidon conducted a telephone
     Work and shall, in accordance with Section 3.23(d), accept         conference with Garone, Terminal Manager Mullen, and the
     work performed by the DCTU Employees at such time as the           Portland PMA labor relations representative, Mike Dodd.
     Lessee determines that such work complies with the provi-          Amidon provided them with the PMA professional staff’s pes-
     sions of this Agreement (including the Operating Standards)        simistic assessment that a successful defense could be mounted
     and applicable Law. The Port shall have responsibility for the     against the pay-in-lieu grievances. He provided this summary:
     conduct of the DCTU Employees in performing the DCTU                         In preparation for the conference call (with Garone,
     Work. [GC Exh. 22 at 58.]                                               Mullen and Dodd), I consulted with labor relations staff
   Section 3.23(e)(ii) of the lease, not cited in Ganda’s letter,            after reading (Garone’s draft) brief to try and learn more
supports a conclusion that ICTSI had a mandatory obligation to               about the merits of the case. I spoke to (Richard) Marzano
use DCTU labor to perform all historical work those labor or-                (PMA’s Coast Director for Contract Administration and
ganizations had always performed at T6, including the dockside               Arbitration) and I spoke to Andy Hathaway who is the
reefer work. It states:                                                      (PMA) area manager for the Pacific Northwest and Mr.
                                                                             Dodd.
     In the event the DCTU Agreement is not in effect with respect                So then I then explained to ICTSI our assessment of
     to the Terminal, the Lessee shall not be required to utilize the        the likelihood that ICTSI would prevail on this grievance.
     DCTU Employees with respect to the provision of the DCTU                And I explained that there were really two issues that they
     Work and the provisions of Sections 3.23(a) through (d) shall           were bringing up themselves. One was whether or not this
     no longer apply. [GC Exh. 22 at 59–60; emphasis added.]                 work is work covered by Section 1, the jurisdictional pro-
The lease agreement defines DCTU Work as “the work to be                     visions of the Pacific Coast Longshore Contract Document
undertaken by the Port at the Terminal by the DCTU employ-                   and (second) was whether or not even if that work is cov-
ees subject to the DCTU Agreement.” It defines DCTU Em-                      ered under the collective-bargaining agreement, ICTSI’s
ployees as “the employees of the Port subject to the DCTU                    argument that its lease agreement with the Port precluded
agreement” and the DCTU Agreement as “the agreement be-                      it from assigning this work to the ILWU would carry the
tween the Port and the DCTU at the Marine Terminals, effec-                  day and be a valid defense to the jurisdictional assignment.
tive July 1, 2005 to June 30, 2009, and all amendments there-                     So I covered the first issue and explained that under
to.” (GC Exh. 22 at 6.)                                                      our assessment, that ICTSI has virtually no chance of win-
   Following the February 2011 O’Neil/Ganda exchange of cor-                 ning. I’m sorry, no chance of winning on the jurisdiction-
respondence, the Company used the Port’s electricians to do the              al issue. That it was clear in our mind that the on dock
dockside reefer work.                                                        plugging, unplugging and monitoring of refrigerated con-
   Beginning on March 9, some 13 months after O’Neil                         tainers is work covered by the Section 1 of the agreement
claimed the dockside reefer work on behalf of Local 8-                       with the only exception being the red circle provisions
represented workers, and continuing through August 21, Local                 which carve out in some terminals work that is not within
8 filed lost-time grievances (also occasionally referred to as               the ILWU’s jurisdiction.
pay-in-lieu grievances) against ICTSI and the PMA-member
                                                                           18
carriers whose ships transported reefers into and out of T6.                  The March-August grievances are the key component of the alle-
Altogether Local 8 filed 83 separate grievances in that period          gations in the August complaint but serve only as background for the
                                                                        allegations in the June complaint.
but many alleged contract violations occurred on multiple days.
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           And then I also explained that we saw next to no             sion that the dockside reefer work at T6 belonged to the ILWU-
       chance that ICTSI would prevail in this argument, that the       represented employees:
       lease with the Port excused it from complying with the ju-
                                                                            The Committee reviewed the 2008-2014 PCLCD, specifically
       risdictional provisions of the contract.
                                                                            the new language in Section 1.7 and sub-sections and the
           I also went over a few other provisions in the collec-
                                                                            ‘Red Circle” LOU (Letter of Understanding), along with
       tive bargaining agreement that I had mentioned to Mr.
                                                                            Kagel Award C-07-2011. After discussion and consideration
       Garone in an email that I thought were going to be im-
                                                                            of the matter, and in accordance with its authority under Sec-
       portant and significant to this case. One is Section 1.74
                                                                            tion 17.26 and 17.27 of the PCLCD, the CLRC agreed the
       that talks about as I recall no subterfuge. And I mentioned
                                                                            work in dispute, currently being performed by other than
       that, you know, I really—we really thought it would be a
                                                                            ILWU workers, is work that is covered by Section 1.7 at the
       significant obstacle under the agreement even if the arbi-
                                                                            Terminal 6 facility in Portland and shall be performed by
       trator would consider the lease agreement which we didn’t
                                                                            ILWU represented workers. The Committee further agreed
       think she would. But even if she did, for ICTSI to per-
                                                                            that, in this instance and under the facts of this case, the terms
       suade her that this wasn’t some form of subterfuge for
                                                                            of the lease with the Port of Portland does not alter ICTSI’s
       ICTSI to be taking work away from the ILWU and we
                                                                            contractual obligation to the ILWU under the PCL&CA.
       spoke about Section 1.82 of the collective bargaining
       agreement which is a provision that mentions that compa-             The Committee instructs ICTSI to assign the subject work to
       nies that join the PMA after the agreement was formed in             ILWU represented Longshore personnel in accordance with
       2008 are bound by all its terms. And so that’s another rea-          the PCLCD and this CLRC agreement. The Committee fur-
       son why we don’t think that the arbitrator would be per-             ther instructs ICTSI to comply with Section 1.76, PCLCD.
       suaded by your lease agreement argument you—the deal is              [Emphasis added.]
       you got to come in ready to take the agreement, every bit        The Kagel Award C-07-2011, noted in CLRC-012-2012, af-
       of it, not parts – not the parts you didn’t give away to         firmed an earlier award of a subordinate area arbitrator finding
       somebody else.                                                   that the work of plugging and unplugging reefers onboard ships
           And then finally I spoke at length about Section 1.76        was PCLCD section 1 work. Presumably, the CLRC cited the
       of the collective bargaining agreement which is a provi-         Kagel Award because the work is virtually identical whether
       sion that says that once the Coast Labor Relations Com-          performed dockside or aboard ship. Under the contractual rules
       mittee or an arbitrator has determined that work belongs to      of construction contained in section 17 of the PCLCD, deci-
       the ILWU under the collective bargaining agreement,              sions of the CLRC constitute a binding interpretation of the
       PMA and its member companies must participate with the           PMA/ILWU collective-bargaining agreement. As a result, this
       ILWU in defending that work assignment. And if I didn’t          CLRC action effectively mooted parallel grievance processing
       quote that directly, exactly right, I’ll just refer you to the   at the local level because those representatives, including the
       PCLCD.                                                           area arbitrator, would have been bound to apply CLRC-012-
   Following this call, the PMA made an executive decision              2012. In fact, on June 4 Portland area arbitrator Holmes did
that the dockside reefer work at Portland belonged to ILWU-             exactly that.
represented worker under section 1 of the PCLCD. On May 18,                           F. The June Complaint Allegations
James McKenna, PMA’s president and chief executive officer,
and Amidon conducted a conference call with Garone, Ganda,                     1. Complaint paragraph 6(a): Threats at the May 21
and Mullen to inform them of PMA’s decision to favor the                                      Ganda/Sundet meeting
ILWU’s claim for the dockside reefer work. When the ICTSI                  Complaint paragraph 6(a) alleges that Sundet made a variety
group protested, McKenna told the Company’s officials and its           of threats on May 21 in furtherance of the ILWU’s dispute with
attorney that they had to “take one for the team,” a retort that        the Port over the dockside reefer work during a meeting be-
meant the PMA could no longer support their position so the             tween the two at Stanford’s Restaurant located in the Portland
Company needed to assign the dockside reefer work to ILWU               airport.
workers.                                                                   Two days before the specially-convened CLRC meeting that
   On May 23, the CLRC convened a special meeting at the                ordered the Company to assign the dockside reefer work to the
ILWU’s request to consider ICTSI’s continued use of the Port’s          ILWU-represented workers discussed above, Sundet arranged
Local 48-represented electricians to perform the dockside reefer        through Local 8 President Jeff Smith to meet with Company
work. The minutes of the meeting (CLRC-012-2012) reflect                CEO Ganda on May 21 at Stanford’s en route back from Seattle
that Sundet attended as one of the ILWU committee mem-                  to his office in San Francisco. Ganda said that Sundet began
bers.19 As the following excerpt from the meeting minutes               their meeting that day by asking if the PMA had instructed the
reflect, this high-level committee reached a unanimous conclu-          Company to express a preference for the ILWU to perform the
                                                                        dockside reefer work at the upcoming NLRB 10(k) hearing on
  19
      The other committee members representing the ILWU were the        May 24. Before Ganda could answer, Sundet told him that he
ILWU president and two other ILWU representatives. Marzano repre-       did not have a choice because the ILWU would be unhappy if
sented the PMA but, according to Amidon, once PMA President             he did not state at the 10(k) hearing that the Company preferred
McKenna reached a decision to back the ILWU’s claim for the             to have the dockside reefer work performed by ILWU labor.
dockside reefer work at T6, Marzano became obliged to do the same.
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   Sundet then broadsided Ganda with a whole series of threats        here, because then the Board will rule that it’s ILWU work,
(some direct, some implied) designed to influence the Compa-          guaranteed.” Ganda declined to do that citing the Company’s
ny’s preference at the 10(k) hearing. By Ganda’s account,             lease with the Port. When Sundet pressed for an explanation,
Sundet told him that the Company “would pay the price”; that          Ganda told him the lease required that his firm use the Port
the ILWU “can fuck you”; that if Ganda knew him he would              electricians to perform the dockside reefer work.
know that he was the “guy that can fuck you badly”; that he              Sundet claimed that he had never heard of this lease re-
could not guarantee what would happen with Hanjin, the Kore-          quirement before. Regardless of the veracity of this claim,20
an-based container carrier that, at the time, accounted for slight-   Sundet pressed Ganda to state a preference for ILWU workers
ly more than 80 percent of the T6 business; that he would make        anyway because there would be nothing Local 48 could do
sure that Hanjin did not renew its contract with ICTSI when the       about a 10(k) award to the ILWU. If Local 48 tried to picket,
current one expired; that the PMA would not have allowed              Sundet asserted, the NLRB would promptly seek a 10(l) injunc-
ICTSI to join the PMA if it had known what its lease agreement        tion against that type of activity and “then it’s all over with . . .
with the Port said about the disputed work; and that the PMA          everything’s fine.” Obviously skeptical of Sundet’s assertions,
could fine ICTSI and expel it from membership.                        Ganda said he would have to talk with his lawyers.
   Throughout, Ganda asserted that the Company was caught in             Failing to obtain Ganda’s immediate acquiescence to express
the middle of a jurisdictional battle that it had nothing to do       a preference for the ILWU-represented workers, Sundet then
with and if Sundet set out to drive business away from T6, he         argued that the Company’s strategy of seeking a 10(k) determi-
would be hurting his own membership. Sundet claimed to                nation would not work. He asserted that even if the Board
Ganda that he had a verbal agreement with the Port executives         awarded the disputed reefer work to the Local 48-represented
to go along with the assignment of the disputed reefer work to        workers, it would have nothing to do with the carriers who
the ILWU while foregoing any claim the electrical maintenance         owned the reefers because they also belonged to the PMA, and
work on the Port’s T6 cranes, also performed by the Local 48          thereby had an obligation to honor the PMA/ILWU agreement.
electricians, in exchange for the ILWU’s support of the T6            “You need to understand,” Sundet admittedly told Ganda, “the
lease before the Port Commission.                                     carriers can’t come to Portland if they’re in violation of the
   Ganda, who persisted in his reluctance to take a position he       (PMA/ILWU) agreement.”
thought contrary to the lease terms for fear that the Port would         Ganda again demurred saying he needed to speak with the
claim a breach of that agreement, told Sundet that he felt like he    Company’s lawyers. He added that he felt like the Port had a
had a gun being held to his head. In response, Sundet told him,       gun to his head and that “you’ve got a gun to my head.”
“And I’m holding the other gun to your head.”                         Sundet replied that he needed to decide “which gun’s got the
   Sundet next proposed that ITCSI permit PMA to speak on its         bigger bullet.” Sundet asked: “What can the Port do to you?”
behalf at the 10(k) hearing, but Ganda quickly rejected that          When Ganda replied that the Port might sever the lease and
suggestion on the ground that the PMA was not a party to the          require payments, Sundet scoffed at his response, asking if he
lease his firm had with the Port. Sundet also told Ganda that         believed what he had just said, and then provided an alternate
the future of further automation projects currently underway          answer seemingly based on his instinctive assessment of the
and in the planning stage depended on the ability of PMA to           situation:
assure the ILWU that the PMA member-companies would hon-
                                                                           Do you really think the Port’s going to do that? The Port
or the ILWU’s jurisdiction claims. The meeting ended when
                                                                           barely got you to sign the lease. They have nobody else out
the time came for Sundet to catch a plane.
                                                                           there. They’ve got nothing. The Port’s not going to do that.
   Although Sundet provided an even more detailed and graph-
                                                                           It’s not going to happen.
ic account of this meeting, he denied making the threats Ganda
attributed to him, including the threats about causing problems,         After having said that, Sundet offered to speak with Port of-
forcing carriers to bypass T6, or shutting down that terminal.        ficials to obtain their assurance to renegotiate the problematic
But he admittedly believed that the Company’s pending                 lease terms provided the Company expressed a preference to
8(b)(4)(D) charge giving rise to the 10(k) hearing scheduled for      have the ILWU-represented workers perform the disputed reef-
later that week amounted to a contrivance between ICTSI and           er work. Asked if that would be satisfactory, Ganda indicated
Local 48 to interfere with what he perceived to be the likely         that it might be but that he still needed to speak with his law-
success of the parallel Local 8 grievances in contractual dispute     yers. Their discussion concluded with Sundet telling Ganda:
resolution pipeline at that time. Sundet told Ganda at the outset          Okay; okay, fine. Let me talk to the Port and we’ll see if we
of their meeting that the 10(k) proceeding initiated by the                can’t get it to where it’s all right for you to pick us in this
Company amounted to “an aggressive . . . [a]nd a manipulative              10(k) process, and then all this can go away. Maybe that’s a
act” on its part that undermined the PMA/ILWU agreement.                   better solution than us even going to the arbitration.
   Sundet subscribes to the widely-held view that the only fac-
tor that really counts in a Board 10(k) proceeding is the em-
                                                                         20
ployer’s work-assignment preference. Hence, after criticizing               As noted above, Sundet had been copied on the exchange of let-
the Company for invoking the NLRB procedures, Sundet urged            ters between Local 8’s O’Neil and Ganda in February 2011 where
                                                                      Ganda explained that ICTSI could not use ILWU-represented labor on
Ganda to state the Company’s preference at the 10(k) hearing
                                                                      the disputed reefer work because of the lease terms.
for ILWU-represented workers to perform the dockside reefer
work. If he did that, Sundet assured Ganda, “there’s no harm
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   In fact, Sundet did speak the following day or the day after       them packing.” According to Mullen, these two carriers ac-
with Dan Pippenger, the Port’s general manager of marine op-          count for nearly 98 percent of the Company’s work at T6.
erations. He sought an assurance from Pippenger that the Port             The 10(k) hearing concluded on May 30. At some later time,
would not act against ITCSI Oregon if that company expressed          Sundet told Stephen Hennessey, PMA’s chief operating officer,
a preference for the use of ILWU-represented workers at the           and PMA Coast Director Marzano that the PMA carriers need-
10(k) hearing. According to Sundet, Pippenger could only state        ed to know that if the 10(k) proceeding ultimately resulted in
to him that there was no “Plan B” at T6 other than ICTSI, but         the assignment of the dockside reefer work outside the scope of
he would have to get the assurance Sundet sought from “up-            the PCLCD (as did happen), the carriers would be in violation
stairs.” Sundet never heard back from Pippenger or any other          of the PCLCD. Sundet admitted that he wrote letters to the
Port official concerning this subject.                                PMA carriers around the same time stating as much. This
    2. Complaint paragraphs 6(b) and (aa): the May 24 threats         could not have been news to the carriers as Local 8 had been
                                                                      filing pay-in-lieu grievances against them since March claiming
   (a) Complaint paragraph 6(aa) alleges that on May 24 in the        violations of the PCLCD because the carriers permitted work
hearing room at the Portland NLRB office, Sundet threatened           on their reefers at T6 to be performed by non-ILWU labor.
to shut down the Company’s operations unless it began using
workers represented by Local 8 in place of Port electricians to               3. Complaint paragraph 6(y): The May 25 threats
perform the dockside reefer work.                                         Complaint paragraph 6(y) alleges that Local 8 President Jeff
   The 10(k) hearing commenced May 24 in the subregional of-          Smith threatened in a telephone conversation that the Port was
fice at Portland. Lyle Denning, a Port electrician represented        going to kick the Company out of T6 and that the Respondents
by Local 48, attended the first day of the 10(k) hearing. He sat      would cause Hanjin to stop doing business at the Port.21 Ac-
in the front row of the spectator section just in front of John       cording to ICTSI’s CEO Ganda’s uncontradicted, credible tes-
Mikan, a gearlocker foreman at T6 who is represented by an            timony (Smith did not testify) Smith demanded during a tele-
ILWU local. Sundet sat at the ILWU counsel table 2 or 3 feet          phone call around 5 p.m. on May 25 that the Company assign
in front of Denning. Toward the end of the morning session,           the dockside reefer work to Local 8 workers. Smith told Ganda
Sundet turned around and, speaking to Mikan, said that they           that if this demand was not met, the ILWU would put ICTSI
were going to “shut down ICTSI.” Sundet did not deny the              out of business and would run every Hanjin container out of
remark that Denning attributed to him.                                Portland.
   (b) Complaint paragraph 6(b) alleges that on May 24, outside           4. Complaint paragraph 6(c): the June 1 and 3 slowdowns
the Portland hearing room, Sundet threatened to shutdown the
Company’s operations unless it began using workers represent-             Complaint paragraph 6(c) alleges that unnamed agents of the
ed by Local 8 in place of Port electricians to perform the            Respondents appealed to and ordered Company employees to
dockside reefer work.                                                 engage in a work slowdown on June 1 and 3 by having those
   The second event on May 24 occurred during a chance en-            workers perform work at reduced speeds in order to pressure
counter between Terminal Manager Mullen and Sundet on the             the Company to use workers represented by Local 8 in place of
street outside the hearing room after the close of the first day of   Port electricians to perform the dockside reefer work.
the 10(k) hearing. Mullen recalled that they first exchanged              On June 1, shortly after the close of the 10(k) hearing, the
pleasantries and then Sundet turned to the dispute. Sundet told       Local 8-represented workers at T6 engaged in intermittent
Mullen that the Port had really “screwed” the Company.                slowdown activities. Brian Yockey, the Company’s marine
Speaking of his company’s predicament, Mullen admitted that           manager at T6, attended a June 1 meeting on the third floor of
they were in a really tough spot but went on the tell Sundet that     the administration building. From that location, Yockey could
the ILWU did not have to “hard time” them, meaning engage in          view nearly the entire container yard to the north. At around 2
various types of work actions. That prompted Sundet to tell           p.m. that day, he observed about a dozen trucks lined up in the
him that the ILWU could not allow a company to sign a lease           container yard sections where the import reefers are placed and
with a port authority, join the PMA, and then keep ILWU               reach stacker operators, represented by Local 8, “just sitting
workers from their work. Mullen told Sundet that “we’ve got a         there.”22 The longer Yockey watched the more he became
gun to either side of our head,” and explained that the Company       convinced that an intentional slowdown was in progress. This
could not break its lease with the Port. Sundet responded by          is his account of his observations at the time:
telling him that was what ICTSI had to do.
   The two continued their exchange for a few more moments               21
                                                                             Complaint par. 6(y) (set forth in the July 24 amendment to the
until Sundet, by this time somewhat angry and animated,               June complaint) alleges erroneously that this conversation occurred on
claimed that Ruda had assured him the ILWU could have the             June 5.
                                                                         22
dockside reefer work if they obtained it by an arbitration award            Import containers are typically stored in one of the 70s sections at
                                                                      T6 while awaiting transport from the terminal to a location in Portland
and that he (Ruda) had perjured himself at the hearing that day
                                                                      or environs. The reach stackers are motorized industrial machines used
by testifying there was no such deal. Toward the end of their         in the stevedoring industry to lift containers and transport them short
exchange, Sundet told Mullen that ICTSI needed to give the            distances as needed. The reach stackers and a similar device called a
disputed work to the ILWU. After Mullen replied that he did           toploader are the two primary types of container handling equipment in
not “see that happening,” Sundet told him “you might as well          use at T6.
tell Hanjin and Hapag to pack up because we’re going to send
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     What I observed that day was the reach stacker operator                8, unplugging one of the decked reefers and confronted him
     would sit there, and he would wait for minutes on end. And             about it. Correll told Oliver that he did not want to do that
     then he would roll forward. And he would place the beam on             work but the order “came down from the top” so he had to do
     top of the container to be delivered. And he would sit there           it. Port electrician Denning also observed Correll unplugging a
     and he would wait for minutes on end. And then he would                different reefer that morning. Oliver and Denning saw Correll
     pick it up, and then he would back up and he would wait.               unplug about six reefers that day.
     Then the truck driver would pull forward. And the (reach)                 After learning of this activity, Todd Staple, the Port’s marine
     stacker would sit there holding the container, and he would            maintenance manager, complained to Mullen about the TMC
     wait for minutes on end. And then he would pull forward.               mechanics performing the dockside reefer work normally per-
     And then he would sit the container down on the chassis.               formed by his Port electricians. Mullen promptly requested
     And then he would wait. And then he would unlock the                   that TMC Manager Preston Foster instruct the TMC workers to
     frame. And then he would pick it up. And then he would                 quit doing the dockside reefer work. Mullen also called Dave
     back up. And then, you know, like I said, instead of it taking         Echels, TMC’s West Coast manager, and gave him the same
     a minute, it would take six, seven, eight minutes.                     message. After their conversation, Echels sent Mullen an email
                                                                            threatening to hold ICTSI liable for any losses resulting from
After watching what was going on for about half an hour,
                                                                            grievances brought against TMC because of Mullen’s “stand
Yockey drove around other areas of the container yard in his
                                                                            down” directive.
pickup. During his drive, he noticed four to six other reach
                                                                               Although this evidence fails to implicate Mulcahy in any di-
stack operators performing their work in the same slow fashion.
                                                                            rective to Correll about performing dockside reefer work on
Yockey said no unusual conditions existed that would justify
                                                                            June 4, Correll’s assertion that he did so unwillingly because of
such a variance from the ordinary work pace.
                                                                            an order from the top, when considered with the record as a
   On June 3, Port electrician Denning worked from 8 a.m. to
                                                                            whole supports the conclusion I have reached that the directive
3:30 p.m. during the loading and unloading of an unnamed
                                                                            came from an some responsible agent at Local 8.
container ship. If reefers are offloaded from a ship, the electri-
                                                                               (b) Complaint paragraph 6(bb) alleges that on June 4 Local
cian responsible for plugging it in after it is spotted in the con-
                                                                            8 LRC Stuart Wilson caused a work stoppage in support of
tainer yard follows the longshore driver from the dock area to
                                                                            Respondents’ dispute with the Port by refusing to refer quali-
the yard location where it is decked. Denning recalled that
                                                                            fied workers from the hiring hall to the Company.
throughout the shift that day the drivers would creep along at
                                                                               Around 3 p.m., the deadline for requesting or releasing a
about 1 mile per hour for no apparent reason. Ordinarily, he
                                                                            night gang under the local hiring hall rules, Marine Manager
said, they operated at or near the terminal limit of 15 miles per
                                                                            Yockey sought the assignment of a night gang to continue the
hour.
                                                                            Hanjin Washington work through Stuart Wilson, a Local 8
   In addition, Denning recalled that two cranes were used to
                                                                            labor relations committeeman. Wilson refused to cooperate in
offload from the ship that day. He also observed that the Local
                                                                            securing a night gang for Yockey because he was “pissed at
8-represented crane operators also worked at a very slow pace
                                                                            Elvis Ganda for everything that was going on with the electric
throughout the shift. Ordinarily, Denning reported, the crane
                                                                            work at Terminal 6.” As a result, no work was performed on
operators offload up to 25 containers per hour but on June 3
                                                                            the Hanjin Washington that night. In the morning, the ship
they offloaded only 3 or 4 containers per hour.
                                                                            departed T6 without unloading all of the empty containers des-
   5. Complaint paragraphs 6(e), (f), (g), and (bb): the June 4             tined for Portland and without loading all of the containers that
 “self-assignment” activity, the refusal to refer workers, and the          had been scheduled for shipment aboard that vessel.
                         work stoppage                                         (c) Complaint paragraph 6(e) alleges that Local 8 LRC
   On June 4 the container ship Hanjin Washington had docked                Mulcahy threatened on June 4 to shut down the Company’s
at the T6 berth 605 to off load empty containers and to take                operation at T6 unless the Company used workers represented
aboard loaded containers. The relevant events of the day began              by Local 8 in place of the Port electricians to perform the
with conduct that Sundet characterized as the “self-assignment”             dockside reefer work.
of the dockside reefer work to employees represented by Local                  Early in the afternoon on June 4, PMA labor relations repre-
8.23                                                                        sentative Mike Todd notified Mullen that Local 8 had requested
   (a) Complaint paragraph 6(f) alleges that Local 8 LRC                    an immediate arbitration hearing over the assignment of the
Mulcahy and other agents of Respondents caused TMC work-                    dockside reefer work. Area Arbitrator Holmes conducted a
ers to engage in a work slowdown on June 4 to support Re-                   hearing concerning the dispute later that afternoon in the first
spondents’ dispute with the Port over the dockside reefer work              floor conference room at the T6 administration building. Todd,
by doing that work rather than their assigned duties.                       Mullen, and Marine Manager Yockey appeared on behalf of the
   On June 4 around 10 a.m., Port electrician Zackary Oliver                Company. Jack Mulcahy, at the time a member of Local 8’s
observed Brian Correll, a TMC mechanic represented by Local                 labor relations committee and an admitted agent of that union
                                                                            up to July 12 (see Jt. Stipulation 1), and other unnamed mem-
   23
       Sundet rationalized the “self-assignment” tactic by asserting that   bers of Local 8’s labor relations committee represented the
it amounts to an exception to the contractual no-strike commitment          union.
when done in response to an employer’s failure to comply with a col-           At the conclusion of the hearing, Arbitrator Holmes found
lective-bargaining agreement.                                               ICTSI out of compliance with CLRC-012-2012 and directed
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that it start assigning the dockside reefer work to employees            named Local 8 labor relations committeeman, and Kevin John-
represented by Local 8. Mullen told Arbitrator Holmes that the           son, a Local 8 business agent.
Company would not implement with the award.24 A short                       Witham described near frantic efforts to get the crews back
while later Mullen accompanied by Yockey approached the                  to work. He first requested one of his foremen to direct the
union contingent in the parking lot to speak with Mulcahy and            crews back to work a couple of times but none of the crew-
the union contingent. When Mullen attempted to explain the               members complied with the foreman’s instruction. Witham
Company’s position again, Mulcahy greeted him with an exple-             then called for the general foreman, who happened to be on
tive and then said: “[I]f you’re not going to follow the contract,       board the vessel at the time, to come down and instruct the
neither are we, all bets are off.” Although Yockey recalled              crews to return to work. The general foreman did so but with-
these remarks by Mulcahy were uttered in the conference room,            out success. At about 6:20 p.m., the meeting between the crews
his account otherwise corroborates Mullen’s. None of the un-             and the union officials finally ended and the crews began to
ion agents involved testified. Although I find the evidence fails        return to work. Whitman estimated that the direct cost of this
to show that Mulcahy made a threat to close down the Compa-              unauthorized work stoppage that lasted about half an hour at
ny’s operations, I find that he did threaten the Company with            approximately $2000 per crew.
unspecified reprisals by way of his “all bets are off” remark                 6. Complaint paragraphs 6(h), (i), (j), (k), and (cc): the
following his intentionally hostile greeting when Mullen ap-                                   June 5 work stoppages
proached him.
   (d) Complaint paragraph 6(g) alleges that Local 8 agents                 On June 5, the officials of Local 40 became overtly involved
Mulcahy, De La Cruz, Johnson, and others appealed to and                 in supporting Local 8’s effort to secure the dockside reefer
ordered the Company’s crane operators and loader operators to            work-by-work actions. Dane Jones, the Local 40 secretary-
engage in a work stoppage in support of Local 8’s dispute with           treasurer and business agent, received a copy of CLRC-012-
the Port over the assignment of the dockside reefer work.                2012 shortly after May 23. He first conferred with Local 40’s
   Following his encounter with Mullen and Yockey after the              president, Dawn DesBrisay, the union’s executive board, and
arbitration hearing, Mulcahy drove from the administration               its labor relations committee about the CLRC decision. He
building parking lot northward onto the terminal property, and           then informed the Local 40 membership that the dockside reef-
Mullen, accompanied by Yockey, went to his office on the                 er work “was properly assigned to ILWU Local 8 mechanics.”
second floor of the administration building. From that vantage              Complaint paragraphs 6(h), (i), (j), (k), and (cc) allege indi-
point, Mullen and Yockey could see that the cranes used for              vidual segments of various short work stoppages that occurred
loading and unloading the Hanjin Washington had stopped and              on June 5 when the Company’s marine clerks began instructing
that all other operations had come to a halt. Yockey said he             truckdrivers with arriving reefer to bypass the reefer blocks
observed the cranes “parked in the home position,” meaning the           where the Port electricians normally performed their initial
position used when operators enter and exit the crane. Yockey            check and proceed straight to their assigned drop spot in the
described the ripple effect throughout the terminal operation            container yard. Based on the account provided below, I find
when cranes actively loading a vessel stop operating as hap-             this action resulted from a coordinated effort by agents of Lo-
pened that day:                                                          cals 8 and 40.
                                                                            Port electrician Oliver overheard a radio communication be-
     I (saw) the cranes parked in the home position. That’s where        tween an unidentified Company marine clerk represented by
     the operators get in and out of the cranes. So they’re obvious-     Local 40 on the morning of June 5 asking for a company
     ly not driving. That also impacts all other aspects of our oper-    gearlocker mechanic represented by Local 8 to unplug a reefer
     ation. The reach stackers . . . (are) there to handle containers.   in section 46. Oliver arrived at the location first and unplugged
     If the crane is not handling containers, the reach stackers are     the reefer but throughout the rest of the day he observed other
     at a standstill. The truck drivers, they’re transporting contain-   company mechanics plugging in reefers in other areas of the
     ers from the yard to the vessel. If the cranes aren’t moving,       container yard.
     the truck drivers are in standby, if you will.                         Around 9:30 a.m. that day, Port electrician Hines went to the
   Assistant Marine Manager Harvey Witham, who directs the               reefer check-in area after receiving a text message about an
loading and unloading of vessels at T6 and supervises the long-          incoming reefer. When he arrived there, he saw a truckdriver
shore and marine clerks involved with that task, was on duty             skip the usual stop at the reefer check-in blocks and proceed
overseeing the Hanjing Washington stevedoring work during                directly to a drop spot in section 48. Hines followed the truck
the late afternoon of June 4. This work utilized three cranes            and spoke to its driver about bypassing the reefer check-in
(each with two operators) and three gangs of longshore work-             blocks. The driver told Hines that the marine clerk he had spo-
ers. Witham said the crane operators and all three gangs ceased          ken with during the initial check-in stop instructed him to pro-
working at about 6:05 p.m. and congregated in the breakroom              ceed directly to his drop spot without the usual reefer check-in
for a discussion with Mulcahy, Torre Delacruz, another un-               stop.
                                                                            By that time, a contingent of others largely unknown to
   24
       The Company’s refusal to implement the area arbitrator’s award    Hines arrived in company pickups and a lengthy conference
resulted in the prompt issuance of CLRC 013-2012 affirming the award     followed. After about an hour, the driver was instructed to
and its directive requiring ICTSI’s compliance.                          return to the reefer blocks and go through the proper check-in
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procedure. Hines followed and completed the usual reefer               proposed to Local 8 Business Agent Johnson, still present at the
check-in report.                                                       terminal, to put the last two mechanics he fired back to work if
   Thereafter, Hines and the truckdriver returned to the as-           they agreed to refrain from performing the reefer work. John-
signed drop location in section 48. A reach-stack operator lift-       son refused the proposal.
ed the container from the truck and the truckdriver drove away.           Because of the absence of mechanics to perform the essential
When the operator started to lower the container, an unidenti-         equipment repairs, the terminal closed approximately 30
fied longshore worker, ignoring the safety notice on all reach         minutes early that day. Lidstone estimated that about 90 trucks
stackers warning persons to remain 40 feet away, grabbed the           had entered T6 by that time and were waiting to be unloaded.
electrical cable and handed it off to other longshore workers          He said that all of those transactions had to be canceled and the
present who plugged it into a nearby electrical bank. Hines            trucks sent away. Later, it was determined that the spate of
said that Mike Nastari, the Company’s crane and power man-             reported equipment failures required almost no repair work
ager, promptly fired the three longshore workers involved.             other than replacing a single fuse on one loader. As a result, all
   Based on Nastari’s more detailed recollection of the event          were back in service on the second shift by 6:30 p.m.
and the participants, I find that at least the final aspects of this         7. Complaint paragraphs 6(l), (m), and (n): the June 6
engagement probably occurred in the early afternoon. By                                          work stoppages
Nastari’s account, Terminal Manager Mullen alerted him late in
the morning of June 5 to be on the lookout for gearlocker me-             (a) Complaint paragraph 6(l) alleges that Respondents
chanics that Nastari oversees performing the dockside reefer           caused employees to engage in a work stoppage by blocking a
work. After receiving Mullen’s alert, Nastari checked the day’s        reach stacker operator’s access to four outgoing reefers.
delivery schedule and learned that several reefers would be               Shortly before 10 a.m. on June 6, Marine Manager Yockey
delivered to the terminal early that afternoon.                        noticed that four trucks had been lined up in the vicinity of the
   Around 1 p.m., Nastari saw Local 8 Business Agent Johnson           two principal reefer sections of the container yard for an unusu-
and Local 40 President Dawn DesBrisay in reefer section 49             al length of time. When he went to the area to investigate, he
along with three gearlocker employees. Suspicious of the mo-           saw a TMC truck with some of that Company’s mechanics
tive for their unusual presence in that area of the container yard,    blocking access to reefers that were to be loaded on the waiting
Nastari summoned another company manager and a general                 trucks. As the TMC mechanics had no duties that required
foreman to join him at that area. When they arrived, Nastari           their presence in the area, Yockey contacted Gate Manager
and the other two learned that the gearlocker workers were             Lidstone to get the TMC truck moved.
there to perform the dockside reefer work on a reefer expected            Earlier Lidstone had arranged for a machine operator to go to
to arrive soon. Nastari told them the Company did not want             the area to load the four containers on the trucks sent to
them to perform that work and directed the mechanics to return         transport them.25 By the time he arrived at that area of the con-
to their normal duties at some distance from where they were.          tainer yard, a company truck with some gear locker mechanics
They ignored his instruction. When the reefer arrived and was          had pulled alongside of the TMC truck so that the reach stacker
lowered into place, the three mechanics proceeded to plug it           operator had no access to load the containers onto the waiting
into the electrical bank receptacle. Nastari promptly terminated       trucks. Because the gearlocker mechanics had no work in the
the three workers.                                                     area, Lidstone contacted Terry Murphy, the Company’s
   Around 2:45 p.m. on June 5, Container Gate Manager Noa              maintenance and repair manager who oversees their work, to
Lidstone instructed Verl Green, a marine clerk supervisor rep-         get them out of the way. He also contacted TMC Manager
resented by Local 40, “to continue to direct his clerks to call the    Preston Foster to arrange for the removal of the TMC truck. By
electricians for all plugging and unplugging of reefers on the         the time the two trucks with the TMC mechanics and the Com-
terminal and to make sure that they flow the trucks to the reefer      pany’s gearlocker mechanics finally moved, the operator’s
check-in area.” DesBrisay, who was present at Green’s desk at          access to the reefers that needed to be loaded on the waiting
the time, told Lidstone that the marine clerks would not call the      trucks had been blocked for over half an hour.
electricians because that was Local 8’s work. After Lidstone              (b) Complaint paragraph 6(m) alleges Respondents’ respon-
insisted that the clerks call the Port electricians, DesBrisay told    sibility for the Company’s Local 8-represented mechanics in-
him, “[W]e don’t care if the ships sit out here or if they don’t       sisting to the point of termination on performing the dockside
call Portland, we’re not going to call the electricians to plug in     reefer work instead of their own, company-assigned job duties
reefers.”                                                              on June 6.
   Around 3:30 p.m., Nastari fired the two remaining                      Over the course of the morning on June 6, Terry Murphy
gearlocker workers in the presence of Business Agent Johnson           fired 13 of the Company’s mechanics he encountered either
after they too ignored his direction to go back to their regular       individually or in small groups in the reefer sections of the
work rather than engaging in the dockside reefer work. These           container yard where they had no assigned work to perform.
terminations left the Company with no mechanics to handle any          When Murphy inquired about what they were doing there, he
rolling stock repairs or spills at the terminal.                       was told in each instance that they were there to perform the
   Soon thereafter, Gate Manager Noa Lidstone began hearing               25
                                                                              These four containers had been left behind when the Hanjin
several reports by the Local 8 machine operators reporting var-
                                                                       Washington departed T6 on June 4 without its full load due to the
ious mechanical breakdowns. Ordinarily, the gearlocker me-             slowdown that day. An arrangement had been made to transport the
chanics would be dispatched to repair the breakdowns. Nastari          four containers to Seattle by truck for loading onto that ship at that port.
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dockside reefer work that came along that morning. Murphy                conclusion of that hearing, she decided that the Local 8 officers
directed all of the mechanics he encountered to return to their          and members were not guilty of creating a work stoppage or
normal work area and perform their assigned work. He termi-              engaging in a job action.27 However, she directed that Local 8
nated them when they refused or ignored his directive.                   “provide skilled mechanics as needed” and refrain from giving
   (c) Complaint paragraph 6(n) alleges Respondents’ responsi-           directions to those workers contrary to work instructions pro-
bility for a work stoppage that occurred when the Company’s              vided by the Company.
operators took their equipment out of service on June 6.                      8. Complaint paragraph 6(o): the June 7 work stoppage
   At the start of the first shift on June 6, the Company had 10
container loading machines in operation. Between 11:30 a.m.                 Complaint paragraph 6(o) alleges that Local 8 LRCs
and noon, after Murphy fired some or all of the mechanics that           Mulcahy, Wilson, De La Cruz, and Business Agent Johnson
day, the machine operators took 8 of the 10 loading machines             caused a work stoppage at T6 on June 8 by refusing to provide
out of service. Four were removed allegedly because they did             the Company with qualified mechanics.
not have fire extinguishers on board, two purportedly had                   Early in the morning of June 7, Maintenance and Repair
maintenance issues, and two supposedly could not be disen-               Manager Murphy called the hiring hall asking to have 14 me-
gaged from the containers they had lifted. Murphy, who over-             chanics dispatched to T6 for the first shift starting at 8 a.m.
sees the shop responsible for repairing and returning this               Murphy needed skilled mechanics to repair the loader equip-
equipment to service, claimed that he had never experienced so           ment taken out of service on June 6. Specifically, Murphy
many pieces of equipment taken out of service in such a short            sought workers with the following skill sets: four qualified
period during all of his 35 years in this line of work.                  crane mechanics, four qualified reach stacker and top loader
   Shortly after the end of the lunch period at 1 p.m., Lidstone         mechanics, two qualified shop mechanics, two certified weld-
saw Local 8 Business Agent Johnson meeting with the Compa-               ers, a parts man familiar with the Company’s computerized
ny’s loader operators (the employees who had taken their                 inventory and parts system, and a gearman yard-support person,
equipment out of service) in the corral area, a parking area             in effect a mechanics helper.
between the administration building and the power shop where                As the workers dispatched from the hiring hall began arriv-
the motorized loading equipment is parked when not in use.               ing at the gearlocker building, one of the workers gave Murphy
Lidstone approached the group and through his foreman di-                the “dispatch pad” showing that all of the workers were casuals,
rected the operators to go back to work because fire extinguish-         or entry level workers who are typically the least skilled hiring
ers were not required on the loaders.26 The operators ignored            hall registrants. For that reason, Murphy and Gate Manager
his order and walked away toward a nearby building.                      Lidstone started interviewing them to determine precisely the
   Lidstone then requested that Johnson contact Local 8 LRC              skills they claimed to possess.
Stuart Wilson with whom Lidstone had discussed the fire ex-                 During the course of these interviews, Ken Elliott, a TMC
tinguisher issue in the past. After Johnson spoke with Wilson            mechanic represented by Local 8, came into the breakroom and
twice, he told Lidstone that the four operators who had taken            told the worker to stop talking to the managers. Elliott then
their equipment out of service over the fire extinguisher ques-          proceeded out to the gearlocker shop floor and the dispatched
tion could go back to work if Lidstone’s foreman first conduct-          workers followed him. Murphy and Lidstone followed. Out on
ed a safety instruction that included information about the loca-        the shop floor Lidstone protested that Elliott had no authority to
tion of the fire extinguishers at the terminal. Lidstone agreed.         be involved in the matter because he did not work for the Com-
Following the foreman’s brief safety class, the four operators           pany. Elliott claimed that he still had the right to speak with
started to return to work. One immediately refused claiming,             the workers as his “brothers” and that Lidstone needed to speak
for the first time, that his machine had a transmission problem.         with Local 8 Business Agent Johnson.
The three others returned to work.                                          By the time Elliott interrupted the interviews, Murphy had
   Due to a failure to comply with certain overtime rules, 2 of          talked with nine of the dispatched workers and found that only
the 5 loaders still operating were taken out of service so that by       two certified welders possessed the skills he had requested. For
2:30 p.m., only 3 of the Company’s 10 loaders remained in                that reason, Murphy returned all 14 of the dispatched workers
operation. Between 4 and 5:30 p.m. the operators of those                to the hiring hall at the direction of Terminal Manager Mullen.
three loader machines removed them from service, one for                 Before the men actually left the premises, Business Agent
unknown reasons, another because of loud noises, and the third           Johnson and Local 8 LRC DeLaCruz arrived at the gearlocker
because it could not be disengaged from a container. These               shop and spoke with the dispatched workers.
actions forced Lidstone to close the terminal gate half an hour             When Johnson and DeLaCruz finished speaking with the
early that day. He estimated that 60 or so trucks waiting to get         dispatched workers, they spoke with Murphy, asking his rea-
into the terminal were turned away. He also cancelled the                sons for rejecting the two welders. Murphy told the union
transactions for about 17 trucks already on the terminal grounds         agents that they needed to speak with Mullen, the company
and sent them “on their way.”                                            official who made the decision to return all of the dispatched
   At 6 p.m. that day, an arbitration proceeding was com-                workers. A short while later, the Company made the decision
menced by Arbitrator Holmes to consider these actions. At the            to retain the two welders and a certified diesel mechanic. By
                                                                            27
  26                                                                           Based on the evidence before me I respectfully disagree with this
       Lidstone asserted without contradiction that there had not been
                                                                         finding by the arbitrator.
any fire extinguishers on the motorized loading machines for years.
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                                                            LONGSHOREMEN LOCAL 8                                                                19

that time one of the welders had left the premises and could not            the two union agents for the referral of three specific loader
be reached. In any event, the qualified mechanics provided by               mechanics, Mulcahy told him that all three were sick.30
the hiring hall was insufficient to complete the repairs on all the            Later that morning, four top loader operators arrived at T6
equipment taken out of service on June 6.28 As a result, the                for work. Mullen and Lidstone met them and ascertained that it
terminal remained closed at least during the day shift because it           was not likely that others would arrive for work. Lidstone’s
did not have enough operable front-end loaders and reach                    foreman contacted the Local 8 dispatch office and was told that
stackers to warrant opening for business.                                   only those four had signed up for the work. When none of the
   An arbitration hearing commenced at 11 a.m. that morning                 14 mechanics requested by the Company appeared for work,
concerning the union’s failure to dispatch the qualified mechan-            Murphy called the dispatch office and was told that there were
ics from the hiring hall as requested by the Company. At the                no qualified mechanics available to send the Company that day.
conclusion of that hearing, Arbitrator Holmes decided that the              Since the Company only had four loader operators and no me-
Local 8 officers and members created a work stoppage at T6 on               chanics, it closed the gate a 4 p.m. when about 60 trucks were
the first shift by failing to provide the skilled manpower the              in line to enter.
Company properly requested. She directed Local 8 to cease                         10. Complaint paragraphs 6(r), (s), and (t): the June 9
such actions and immediately provide the Company with work-                                   slowdown and work stoppages
ers having the necessary training and experience to perform the
work required by the Company. She also directed the workers                    On June 9, officials of the ILWU, Local 8, and Local 40 left
to follow the Company’s direction concerning their work as-                 a Longshore Division caucus, a coastwise gathering of ILWU
signments.                                                                  members and officials, in San Diego to attend a meeting in
                                                                            Portland.31 In addition to Sundet, those making this trek in-
     9. Complaint paragraphs 6(p) and (v): the June 8 work                  cluded the ILWU President Robert McEllrath, Local 8 officers
    stoppage resulting from Respondents’ refusal to dispatch                Smith and Mulcahy, and Local 40 Secretary-Treasurer and
              sufficient workers from the hiring hall                       Business Agent Dane Jones. Jones estimated that 30 to 40
   Complaint paragraph 6(p) alleges that Respondents, by                    officials and members of the ILWU, Local 8, and Local 40
Mulcahy, Wilson, and other agents caused a work stoppage at                 attended this meeting in Portland and that no minutes were
T6 on June 8 by again refusing to provide the Company with                  kept. As seen below, one of the officials in attendance de-
qualified mechanics. Complaint paragraph 6(v) makes a simi-                 scribed the purpose of the meeting as one to reinforce the
lar allegation concerning the Respondents refusal to furnish the            ILWU’s support for Local 8’s efforts to obtain the T6 dockside
Company with loader operators on June 10.29 Both allegations                reefer work.
pertain to Local 8’s failure or refusal to dispatch personnel                  Evidence of job actions by workers represented by Local 8
requested by the Company from the hiring hall.                              and Local 40 in the immediate aftermath of this obviously sig-
   On June 7, Lidstone placed an order with the Local 8 hiring              nificant meeting reflects conduct plainly designed to disrupt the
hall asking to have eight loader operators referred for day-shift           Company’s operations at T6. The credible and uncontradicted
work the following day. When he confirmed the placement of                  evidence also shows a declaration by Mulcahy, a responsible
the order on Local 8’s dispatch office recording at about 6 p.m.            Local 8 official who had traveled from San Diego to attend the
that day, he also heard the Company’s request for 14 mechanics              Portland meeting that day, that the ILWU wanted to “run [the
on the day shift the following day.                                         Company] out of town.”
   About 6:30 a.m. on Friday, June 8, Mullen received a call                   (a) Complaint paragraph 6(r) alleges that Respondents’
from LRC members Mulcahy and Wilson concerning the num-                     caused a work stoppage on June 9 at T6 in furtherance of its
ber of top loader operators the Company needed that day.                    efforts to obtain the dockside reefer work for ILWU workers by
When Mullen told them that they had ordered eight, they asked               encouraging employees to take breaks at the same time rather
why they needed eight when they did not have that many top                  than at staggered times.
loaders running. Mullen responded that the Company also                        According to Terminal Manager Mullen, there has been a
hoped to get mechanics back to repair the out of service load-              “continuous operation agreement” in effect at T6 for years.32
ers. Mulcahy first responded by saying that he had told Mullen              The first shift begins at 8 a.m. and ends at 5 p.m. The second
yesterday that, in reference to the requested dispatch of the
mechanics, “was not going to happen.” When Mullen pressed                      30
                                                                                   Two days later, Mulcahy called Mullen offering to refer the three
                                                                            “sick” mechanics requested on June 8 if Mullen dropped the employer
    28
       Lidstone accused Business Agent Johnson of violating the arbitra-    complaint against the workers fired for performing the dockside reefer
tor’s decision by failing to provide qualified workers that day. Johnson    work and make them whole. Mullen refused the offer.
                                                                               31
shrugged Lidstone’s criticism off, reminding him that the Company had              Sundet said this caucus is convened from time to time. He de-
fired its entire work force the day before.                                 scribed the caucus as the highest policy making body in the ILWU
    29
       Complaint par. 6(v) mistakenly alleges that the refusal to furnish   Longshore Division with authority over all other officials and commit-
loader operators occurred on June 10. The evidence shows that the           tees in that labor organization.
                                                                               32
refusal to fill the complete order for the loader operators occurred on            Sec. 2.3 of the PCLCD provides that longshoremen are to have
June 8.                                                                     “due regard” for “the continuity and nature of the work” when they take
                                                                            their 15-minute breaks. Sec. 2.31 provides that they “shall take their
                                                                            relief as directed by the employer, and there shall be no abuse of . . .
                                                                            relief periods by the employees.”
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shift begins at 6 p.m. and ends at 3 a.m.33 During each of these                     8. ICTSI shall direct relief periods as stipulated under
shifts, the crews are entitled to three breaks. The breaks consist               the terms of the PCLCD.
of a 1-hour lunchbreak at the end of the first 4 hours of duty,
                                                                            (GC Exh. 15.) As seen below, this slowdown continued
and two 15-minute breaks, one in the middle of the first 4 hours
                                                                            throughout the weekend into June 11.
and another in the middle of the last 4 hours. The entire crew
                                                                               (c) Complaint paragraph 6(t) alleges that Respondents
always stops working for the lunchbreak. However, the parties
                                                                            caused a work stoppage at T6 in furtherance of their efforts to
have adhered to a continuous operation agreement when work-
                                                                            obtain the dockside reefer work for ILWU workers when the
ing on a ship in port. Under that agreement, the entire crew
                                                                            Company’s marine clerks and planners represented by Local 40
does not stop for the 15-minute breaks. Instead, the crew
                                                                            failed to notify the Port’s electricians about reefers scheduled to
members stagger their 15-minute breaks in order to maintain a
                                                                            arrive and depart on a ship docked at T6 on June 9.
continuous flow of containers to and from the ship.
                                                                               During Scheidel’s June 9-10 duty period, the Westwood
   On June 9 two ships, the Westwood Olympia and the Hanjin
                                                                            Olympia and the Hanjin Geneva were in port. When a ship
Geneva, docked at T6. The Company worked its first shift
                                                                            calls at the port for unloading and loading, Scheidel said that all
crews to unload and load the Westwood Olympia. In the morn-
                                                                            of the crews receive a packet from the planners in the marine
ing, the crews worked a continuous operation through the mid-
                                                                            manager’s office who are represented by Local 40 showing
morning break period but the crews did not work through the
                                                                            “which containers are going to go to and from the ship and how
midafternoon break. Instead, work on the Westwood Olympia
                                                                            they’re going to be positioned . . . [e]ither on the ship or in the
came to a halt while all crewmembers stopped work for the
                                                                            yard.” At the start of the second shift that day, the Port’s lead
midafternoon break. The crews ignored the Company’s di-
                                                                            electrician notified Scheidel that he had not received the pa-
rective to go back to work. The Company utilized three second
                                                                            perwork for the night’s work. For years the planner routinely
shift crews to work on the Hanjin Geneva. All crewmembers
                                                                            made a copy of these materials and marked it for the electri-
stopped working at the same time for the two 15-minute breaks
                                                                            cians so they know what reefers to plug and unplug during the
during that shift.
                                                                            shift and where those reefers are located. Upon checking into
   (b) Complaint paragraph 6(s) alleges that on June 9 Re-
                                                                            the matter, Scheidel learned that the night planner had not made
spondents encouraged company drivers and crane operators to
                                                                            a copy for the electricians so he asked that one be made. That
engage in a slow down at T6 in furtherance of their efforts to
                                                                            prompted the planner to ask Scheidel if he was “directing” him
obtain the dockside reefer work for workers they represent by
                                                                            to do so and Scheidel said that he was.
operating their equipment at reduced speeds.
   Noah Scheidel, the Company’s stevedore manager, was on                   11. Complaint paragraphs 6(u), (w), and (x): the June 10 shut-
duty at T6 from 4 p.m. on June 9 until about 5 a.m. on June 10.                    down threat, the slowdown, and the work stoppage
Early in the shift, Scheidel observed the trucks, cranes, and                  (a) Complaint paragraph 6(u) alleges that on June 10 Local 8
other equipment used to load and unload the two ships in port               LRC Mulcahy threatened to shut down the stevedore operations
moving very slowly. After observing the slow movement of                    unless the Company reassigned the dockside reefer work.
the Company’s equipment for awhile, Scheidel got in his own                    A recess occurred near the conclusion of Arbitrator Holmes’
pickup and followed some of the slow moving company                         hearing discussed above in connection with complaint para-
truckdrivers in the container yard. He clocked several driving 5            graph 6(s). By that time, it was early in the morning of June
miles per hour or less. Typically, these trucks move at or close            10. During this break while the parties awaited the arbitrator’s
to the terminal speed limit of 15 miles per hour.                           decision, LRC Mulcahy and Terminal Manager Mullen spoke
   Terminal Manager Mullen came to T6 at approximately 8:30                 briefly in a separate room at the T6 administration building.
p.m. that night and drove around for about an hour observing                Mulcahy told Mullen that the ILWU agreed to back Local 8’s
the slow moving equipment operators before calling a PMA                    pursuit of the dockside reefer work at the June 9 meeting at-
labor relations representative to arrange an immediate hearing              tended by those who came from the San Diego caucus meeting
before Arbitrator Holmes over the ongoing slow down. After                  and others. Mullen credibly testified that Mulcahy then said:
the hearing, she found the Company was still out of compliance
                                                                                 [I]t was their plan to run ICTSI out of town. He further said
with CLRC-012-2012 but went on to make the following find-
                                                                                 that he didn’t—they wanted to shut us down and he didn’t
ings about the slowdown:
                                                                                 care if any ships came to Portland again or not, that the ILWU
         5. The Union, its officers and members are engaging in                  never wanted ICTSI (to) enter into the lease with the Port.
     a slowdown, tantamount to a work stoppage, in violation                     And they do not want us to be members of PMA.
     of Sections 11.1 and 11.2, PCLCD.
                                                                               (b) Complaint paragraph 6(w) alleges that Local 8 Business
         6. The Union is in violation of (a prior arbitration deci-
                                                                            Agent Kevin Johnson caused a slowdown at T6 on June 10 in
     sion) by engaging in job action.
                                                                            support of Respondents’ dispute with the Port by requiring an
         7. The workforce shall return to normal production
                                                                            unreasonable amount of safety signage beneath the cranes op-
     levels, immediately, and shall maintain normal production
                                                                            erating at the time.
     levels on all subsequent shifts.
   33
      Occasionally, the Company utilizes the shorter 3rd shift authorized
by the PCLCD that starts at 3 a.m. and ends at 8 a.m. The breaks for
this abbreviated shift were not described.
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                                                        LONGSHOREMEN LOCAL 8                                                            21

   The safety committee at T6 specifies the number, the type           the three mechanics plugging in reefers in the container yard.
and the configuration of the safety signage at T6.34 As of June        He directed them to quit plugging in the reefers and go back to
10 the safety committee rules required a single A-frame type of        their job replacing the crane window. They ignored his di-
sign to be set up at the end of the gangway on the dock when a         rective. Before the window was finally changed, the crane had
crane was in operation. That sign stated: “Warning, cranes             been out of service for approximately 4 hours.
working overhead.” The purpose of the rule was to alert per-                         G. The August Complaint Allegations
sons going aboard the ship that a crane was in operation above
them. It is the responsibility of the gearlocker workers to put           The August complaint addresses the conduct of Respondents
out the sign when the crane is in operation.                           both before and after the issuance of the Board’s 10(k) decision
   On the morning of June 10, Marine Manager Yockey spoke              and determination on August 13 awarding the dockside reefer
to Local 8 Business Agent Johnson at the foot of the gangway           work to the Port’s employees represented by Local 48. The
about the break schedule that he had prepared for use while the        allegation in complaint paragraph 7(a) asserts that Respondents
crews worked on the ship in port that day. There is no evidence        continued to “file, process and maintain grievances” against
that Johnson said anything about the absence of the safety sign.       ICTSI, TMC, and six carriers following the Board’s August 13
At about 8:30 a.m., however, Yockey heard a call over the ra-          decision.35 This refers largely to the 83 grievances discussed
dio network saying that the business agent was there and that          previously as background for the allegations in the June com-
work had to stop because of a health and safety issue. Yockey          plaint.
left the ship and, after finding Johnson near the entrance to the         Complaint paragraph 7(b) alleges that the ILWU itself
dock office, asked why they were “standing by.” Johnson told           “maintained and refused to withdraw a ‘Complaint for Confir-
him they had to stop because the safety signage had not been           mation and Enforcement of Final and Binding Rulings under
put up.                                                                Collective Bargaining Agreement’” filed against ITCSI in the
   Yockey acknowledged that he had not noticed previously              U.S. District Court for the District of Oregon that sought to
whether the sign was in place. In any event, Yockey told a             compel the assignment of the dockside reefer work to employ-
foreman to get someone to put out the safety sign. When that           ees represented by Local 8.
was done, Yockey asked Johnson if it was okay to resume                   Complaint paragraph 7(c) alleges that ILWU Coast Commit-
work. Johnson then insisted that another sign be placed at the         teemen Sundet and Ortiz threatened Cosco, Hanjin, Hapag, and
top of the gangway. Although that was not required by the              “K” Line that Locals 8 and 40 would prosecute pay-in-lieu
existing safety policy, Yockey arranged to have an old sign            grievances against each of them if the dockside reefer work was
placed at that location. When that was done, Johnson okayed a          not assigned to ILWU-represented workers.
return to work.                                                           The parties filed a factual stipulation with multiple exhibits
   After work had resumed for about half an hour, another radio        attached pertaining to the August complaint. Based on that
call directed that work stop again because of a health and safety      stipulation and the attached exhibits, I make the following find-
issue. Yockey again found Johnson who insisted on this occa-           ings relevant to the allegations in the August complaint:
sion that more signs were needed. Although Yockey thought                 1. On August 13, 2012, pursuant to Section 10(k) of the Act,
that the added signs Johnson wanted posted along the ship              the Board issued an award in the 10(k) case providing that the
walkway were unnecessary and not required by the safety poli-          Port’s employees represented by Local 48 are entitled to per-
cy, he directed one of the stevedore managers to make a dozen          form the dockside reefer work at T6.
more signs and post them as Johnson wanted. When that was                 2. Between March 9, 2012, and August 21, 2012, Respond-
finished, Johnson insisted that the safety tape be placed along        ent Local 8 filed 83 lost-work opportunity grievances against
the walkway used by the crews to get to their work area, a             ICTSI, TMC, and several carriers, including Cosco, Hamburg
measure that had never been done before. After losing about an         Sud, Hanjin, Hapag Lloyd, “K” Line, and Yang Ming, seeking
hour of worktime over Johnson’s safety requirements, the               reimbursement to employees it represents at T6 because those
crews finally resumed work about midmorning.                           employees were not assigned to perform the plugging, unplug-
   (c) Complaint paragraph 6(x) alleges that Respondents’              ging, and monitoring of refrigerated cargo containers at T6 (the
agents caused a work stoppage in support of their dispute with         dockside reefer work).
the Port by encouraging Local 8-represented workers to per-               3. On August 1, 2012, Respondent Local 40 filed a lost-
form the dockside reefer work notwithstanding contrary in-             work opportunity grievance against ICTSI seeking reimburse-
structions from company managers.
                                                                          35
   Stevedore Manager Scheidel again worked the second shift                   The six carriers are Cosco North America, Inc.(Cosco), Hamburg
on June 10. Shortly after the second shift started at 6:30 p.m.,       Sud North America, Inc.(Hamburg Sud), Hanjin Shipping America,
                                                                       LLC (Hanjin); Hapag Lloyd America, Inc.(Hapag), “K” Line America,
he arranged to have three of the Company’s mechanics as-
                                                                       Inc. (“K” Line), and Yang Ming America Corporation (Yang, Ming).
signed to replace a cracked window on one of the cranes sched-         Each of these carriers along with the Company and TMC had one or
uled for use on the Hanjin Geneva. The window still had not            more lost-time grievances filed by Local 8 or Local 40 between March
been replaced by approximately 9 p.m., when Scheidel noticed           and August 2011 that related to the Company’s failure to assign the
                                                                       dockside reefer work to the ILWU-represented longshore workers and
  34
       The members of the safety committee include the terminal man-   marine clerks. The Local 40 grievances claim lost-time pay for the
ager, the marine manager, other company managers and representatives   recordkeeping aspect of the dockside reefer work performed by Port
from the three local unions that represent Longshore workers at T6.    electricians.
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ment to employees it represents at T6 because employees “oth-             von Kannewurff, senior vice president of “K” Line, Wolfgang
er than” the employees it represents performed the work of                Freese, president of Hapag, Lloyd, and Dave Ebert, assistant
checking in refrigerated cargo containers on July 23, 2012.               vice president of Cosco that asserted the following: (a) the car-
   4. On August 22, 2012, Mullen36 sent the PMA and each of               riers each had “the primary and ultimate responsibility for all
the Respondents an email dated August 22, 2012, that (1) de-              contractual (PCL&CA) handling, maintenance and repair” of
manded that all of the dockside reefer lost-work opportunity              their equipment; (b) the fact that ICTSI, the carriers “contrac-
grievances “be immediately withdrawn” and (2) requested the               tor” at T6, fails to comply with the PCL&CA for whatever
PMA to notify Arbitrator Holmes that it would be unnecessary              reason does not alter their “independent and primary” obliga-
for her to rule on Local 40’s lost-work opportunity grievance             tion under the PCL&CA; (c) the decision in the Board’s 10(k)
related to the reefer “check-in” and initial monitoring work then         case does not provide their companies with any defense for
pending before her because the Board awarded that work to                 their violations of the PCL&CA; (d) effective that day, Locals 8
Local 48 in the 10(k) case.                                               and 40 would prosecute lost work opportunity grievances
   5. On August 22, 2012, Respondent Local 40 Secretary-                  against them for each refrigerated container if the dockside
Treasurer/Business Agent Jones sent Mullen an email stating:              work of plugg-ing/unplugging and monitoring is “subcontract-
                                                                          ed” to others outside the PCL&CA bargaining unit.
     As we proved by testimony and exhibit in the arbitration hear-
                                                                             11. On August 16, 2012, Hanjin Senior Vice President of
     ing of the 7th of this month, the work of cargo receipt is dis-
                                                                          Sales/Marketing Operations Mike Radak sent officials of ICTSI
     tinct and separate from the disputed plugging, unplugging,
                                                                          and the Port of Portland an email dated August 16, 2012, with
     and monitoring work for which you solicited the 10(k) hear-
                                                                          the August 15 Sundet/Ortiz letter attached, demanding that
     ing , the findings of which have no legal binding upon your
                                                                          “ICTSI use ILWU labor to service our reefers.” The email
     business decisions. This distinction has been previously clari-
                                                                          threatened that their “failure to do so will result in grievances
     fied in two coast arbitrations C-202008 and C-6-2008 which
                                                                          and subsequent fines to (Hanjin) by the ILWU . . . (in which
     are final and binding upon the parties.
                                                                          event Hanjin) will look to ICTSI for compensation on any and
     Accordingly, ILWU Local 40 expects that you will assign all          all legal costs and financial penalties levied against us by the
     clerical work relative to the receipt of cargo including check-      PMA and ILWU for violating the master contract.” The email
     ing, inspection, and operationally necessary confirmations of        characterized the situation as “urgent” and ask that the recipi-
     data necessary to perform clerks’ work to ILWU Local 40              ents “[a]dvise your concurrence.” There is no evidence that
     represented marine clerks.                                           the recipients concurred with the demand contained in Radak’s
   6. Since August 13, 2012, Respondent Local 8 and Re-                   email.
spondent Local 40 have continued to maintain and process the                               H. Analysis and Conclusions
grievances described in paragraphs 2 and 3, above.
                                                                                       1. The 8(b)(4)(i) and (ii)(B) allegations
   7. On June 13, 2012, the ILWU and the PMA filed the
“Complaint for Confirmation and Enforcement of Final and                     Section 8(b)(4)(B) reflects “the dual congressional objectives
Binding Rulings under Collective Bargaining Agreement”                    of preserving the right of labor organizations to bring pressure
(confirmation complaint) against ICTSI with the United States             to bear on offending employers in primary labor disputes and of
District Court for the District of Oregon seeking confirmation            shielding unoffending employers and others from pressures in
of CLRC-012-2012 and CLRC-013-2012.                                       controversies not their own.” NLRB v. Denver Building &
   8. On August 14, 2012, ICTSI Counsel Michael Garone sent               Trades Council, 341 U.S. 675, 692 (1951). Here, the parties
Respondents’ counsel Robert Remar an email requesting in                  sharply disagree about the identity of the primary employer (or
light of the Board’s decision in the 10(k) case that: (a) the             “offending”) employer and the others that can be characterized
ILWU-represented mechanics and clerks immediately “stand                  as “unoffending” employer that we characterize these days as
down” and permit the Port’s electricians to perform the                   neutrals.
dockside reefer work; (b) the ILWU-represented mechanics and                 The AGC contends that the Port is the primary employer
clerks take no action to perform the dockside reefer work and             based on the right of control test the Board applies to distin-
refrain from interfering in any way with the performance of that          guish primary employers from neutral employers in cases of
work by the Port and its electricians; (c) confirm immediately            this type. Accordingly, the AGC argues that the various forms
that the Respondents intend to abide by the decision in the               of pressure the Respondents asserted against others violated the
10(k) case; and (d) confirm that the ILWU intends to withdraw             secondary boycott proscriptions in Section 8(b)(4)(B). Re-
the confirmation complaint because it is at variance with the             spondents argue that Section 8(b)(4)(B) protects economic
Board’s decision in the 10(k) case.                                       action against parties who are not really “neutral” or who are
   9. Since August 13, 2012, Respondent International has                 not “wholly uncon-cerned” in a labor dispute such as the one
maintained and has not withdrawn the confirmation complaint.              here. Respondents assert that neither ICTSI nor the carriers can
   10. On August 15, 2012, Respondent International, by Coast             be characterized as neutral or wholly unconcerned here because
Committeemen Sundet and Ray Ortiz Jr. sent letters, identical             they are bound by the coastwise PCLCD that obligates them to
in substance, to S.Y. Kim, managing director of Hanjin, Chris             honor the section 1 jurisdictional mandates of that contract
                                                                          document as interpreted in CLRC-012-2012 and CLRC-013-
   36
       By the time he sent this email, Mullen had become ICTSI’s direc-   2012 and/or authorized arbitrators. As I find that CLRC-012-
tor of labor management and terminal services.
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2012 and CLRC-013-2012 suffer from a fundamental flaw, I                 decision comports with long-established precedent the Board
disagree with Respondents’ contentions.                                  cited. Based on this record, I conclude that Respondents lack a
   In Plumbers Local 438 (George Koch Sons, Inc.), 201 NLRB              valid work preservation claim with respect to the dockside reef-
59, 63 (1973), enfd. 490 F.2d 323 (4th Cir. 1973), the Board             er work because it has never been a function performed by the
reiterated its analytical approach to cases of this kind:                employees they represent at T6. Sheet Metal Workers Local
                                                                         27, 321 NLRB 540 (1996).
     . . . [O]f late, the Board has characterized its approach simply
                                                                            Earlier I referred to an Achilles heel affecting the outcome of
     in terms of a right-of-control test. The test as stated would
                                                                         this case. Essentially, the defect is this: I find there is no valid
     seem to imply that the Board looked solely at the pressured
                                                                         contractual underpinning for the work preservation claims the
     employer’s “contract right to control” the work at issue at the
                                                                         Respondents, with the assistance in this instance of their PMA
     time of the pressure to determine whether that pressure was
                                                                         ally, make here.37 The Respondents’ work preservation claims
     primary or secondary. In fact, this is not now the Board’s ap-
                                                                         as to the dockside reefer work are grounded in section 1 of the
     proach nor was it ever.
                                                                         PCLCD along with the 2008 LOU red-circling process as inter-
     [T]he Board has always proceeded with an analysis of (1)            preted in CLRC-012-2012 and CLRC-013-2012 and/or author-
     whether under all the surrounding circumstances the union’s         ized arbitrators who operate under the authority of the PMA
     objective was work preservation and then (2) whether the            and the ILWU. A cursory reading of CLRC-012-2012 and
     pressures exerted were directed at the right person, i.e., at the   CLRC-013-2012 shows that the PMA and the ILWU assert that
     primary in the dispute. For the reasons set forth, supra, we        the fundamental work allocation at T6 was altered by the 2008
     think this approach fully conforms with National Woodwork           LOU. In order to do that, the parties to this contract would
     and is in fact compelled by Section 8(b)(4)(B). In following        need the Port’s consent in one form or another and there is no
     this approach, however, our analysis has not nor will it ever       evidence that the Port ever granted its consent.
     be a mechanical one, and, in addition to determining, under all        It is a fundamental tenant of American labor law that the au-
     the surrounding circumstances, whether the union’s objective        thority of a multiemployer bargaining agency, such as the
     is truly work preservation, we have studied and shall continue      PMA, is consensual in nature. See, e.g., Greenhoot, Inc., 205
     to study not only the situation the pressured employer finds        NLRB 250 (1973). Here, the bargaining arrangement on which
     himself in but also how he came to be in that situation. And if     the PMA and the ILWU rely as the basis for removing the
     we find that the employer is not truly an “unoffending em-          dockside reefer work at T6 from the jurisdiction of Local 48
     ployer” who merits the Act’s protections, we shall find no          workers employed by the Port and assigning it to the workers
     violation in a union’s pressures such as occurred here, even        represented by Local 8 was achieved by means of the red-
     though a purely mechanical or surface look at the case might        circling process they invented at the bargaining table in 2008. I
     present an appearance of a parallel situation.                      find the PMA and the ILWU simply had no legally cognizable
   That being understood, the right of control test the Board uti-       authority to make such an arrangement between themselves.
lizes presumes that an employer is a neutral entitled to the pro-        The Port, which clearly controlled the work at the time, was not
tection afforded under Section 8(b)(4)(B) if “when faced with a          a member of the PMA nor was its consent to the LOU ar-
coercive demand from its union, (it) is powerless to accede to           rangement sought and obtained by any other means. Sundet’s
such a demand except by bringing some form of pressure on an             call to Port agent Pippenger between his Stanford restaurant
independent third party.” Electrical Workers Local 501 (Atlas            meeting with Ganda on May 21 and his participation in formu-
Co.), 216 NLRB 417 (1975). If the “pressured employer can-               lating CLRC-012-2012 on May 23 suggests that he consciously
not himself accede to the union’s wishes, the [union’s] pressure         or unconsciously recognized this state of affairs. The fact that
is secondary because it is undertaken for its effect elsewhere.”         neither Pippenger nor any other Port official provided Sundet
Id. But an employer who intentionally places himself in such a           with the assurance he sought in that call reinforces the conclu-
position in order to avoid his contractual commitments under a           sion I have reached here that the Port never consented in any
union agreement cannot be deemed “an unoffending employer”               manner to the LOU arrangement as to the Portland terminals.
entitled to the protection of Section 8(b)(4)(B). Painters Dis-             In fact, the Port obviously continued to treat the subject as
trict Council No. 20 (Uni-Coat Spray Painting), 185 NLRB 930             one over which it retained full control when it entered into the
(1970).                                                                  T6 lease with ICTSI in 2010 with provisions that maintained
                                                                         the historical work jurisdiction of the DCTU unions. For this
         a. The Respondents’ work preservation claim                     reason, the application of the LOU red-circle arrangement by
   The Respondents assert that its conduct alleged as unlawful           the PMA and the ILWU to T6 in the manner described in
by the AGC constituted lawful work preservation activities. In           CLRC-012-2012 and CLRC-013-2012 would first require that
the 10(k) case, the Board rejected Respondents’ work preserva-           they have the Port’s consent. The fact of the matter is that they
tion claim, based on its finding that Local 48 workers have              did not have that requisite consent in 2008 or at any other rele-
been performing the dockside reefer work since 1974. “Where,             vant time. Hence, I find the LOU arrangement and directives
as here,” the Board said, “a union claiming work for employees
                                                                            37
who have not previously performed it, the objective is not work                The NLRB has authority to interpret a provisions in a collective-
preservation but work acquisition.” Regardless of the potential          bargaining agreement offered as a defense to an unfair labor practice.
binding effect of the Board’s decision in the 10(k) case due to          NLRB v. C & C Plywood, 385 U.S. 421, 425–430 (1967).
the district court’s order, the quoted sentence in the Board’s
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reflected in CLRC-012-2012 and CLRC-013-2012 are ineffec-            to assign the dockside reefer work in accord with determina-
tive at the very least as to the T6 container operation.             tions made under the PCLCD is fatally flawed for the reason,
   Any claim that the Port’s consent to the LOU red-circling ar-     discussed above, that the parties to the PCLCD had no authority
rangement at Portland on the basis of the 1984 Port/ILWU             when they entered into the 2008 LOU red-circle arrangement to
agreement would lack merit. The 1984 Port/ILWU agreement,            restructure the Port’s long-established allocation of the
by its terms only bound the Port to the 1984 coastwise agree-        dockside reefer work to its own electricians.
ment. It makes no mention of the Port being bound to any suc-           But aside from that conclusion, even if one accepts the Re-
cessor coastwise agreement. Hence, entirely aside from the fact      spondents’ claim that the longshore and marine clerks unit at
that the Port has not employed workers under that agreement          Portland merged into the coastwise unit when the ICTSI joined
for more than two decades, I find that there is no basis on          the PMA in 2010 and commenced operating T6 in 2011, Local
which to conclude that the 1984 Port/ILWU agreement remains          8 workers have never performed the dockside reefer work at
viable for any purpose, let alone for the purpose of binding the     T6. Instead, that work had always been performed by employ-
Port in some convoluted manner to the 2008 LOU red-circling          ees in a non-ILWU unit. Nothing about this transition would
process. Gem Management Co., 339 NLRB 489 fn. 2 (2003)               justify the contraction of the scope of the work performed by
(me too agreements must be strictly confined to their precise        the electricians unit given the bargaining history at T6.
terms).                                                                 In PCMC/Pacific Crane Maintenance Co., 359 NLRB No.
                b. The primary/secondary issue                       136 (2013) (the PCMC case), the ILWU advanced a similar
                                                                     argument to justify its recognition as the representative of a unit
   I agree with the AGC’s contention that the Port is the prima-     of employees in place of another union that historically repre-
ry employer based on the Board’s right of control test. NLRB v.      sented the unit following a change in the employer’s identity.
Enterprise Assn. of Steam, Hot Water, Hydraulic Sprinkler,           The Board rejected the ILWU’s claim that the “historical bar-
Pneumatic Tub, Ice Machine & Gen. Pipefitters, 429 U.S. 507.         gaining unit did not survive the transfer of the unit work from
(1977) (Enterprise Assn.) (work stoppage by subcontractor’s          (the old employer to the new employer) and that the (old em-
employees over the use of precut and prethreaded pipe in viola-      ployer’s mechanics) were lawfully merged into the ILWU-
tion of subcontractor’s union contract found unlawful second-        PMA bargaining unit.” In the Board’s view, the traditional
ary activity because the general contractor, who specified the       community-of-interest factors survive such changed circum-
use of the pipe in issue, was the primary employer).                 stances when it comes to determining whether a historically
   There are striking parallels between the Enterprise Assn.         recognized unit remains appropriate for bargaining. In such
case and this situation. Throughout the operation of T6 as a         cases, the Board accords significant weight to the parties’ histo-
container facility, the Port has always controlled the dockside      ry of bargaining and a party claiming that changed circum-
reefer work. It originally made the decision that the Local 48       stances overcome a long bargaining history has the burden of
electricians would perform that work when it directly operated       proving that there are compelling reasons sufficient to over-
the Port. Between 1993 and 2011, the Port continued this prac-       come the significance of a long bargaining history. Id. slip op.
tice when it used MTC/PA as the stevedore contractor. Finally,       at 6.
when the Port leased the T6 container operation to ICTSI, it            Unlike the PCMC case, which involved an entire unit, this
carefully reserved the historical practices that developed over      case involves only a small segment (10 percent according to the
the years with respect to the work performed by the constituent      electricians’ job description) of the unit work performed histor-
unions in the DTCU, including Local 48. No evidence shows            ically by the Local 48-represented Port employees. Still, the
that the Port ever relinquished its control at anytime to anyone     mere fact that ICTSI joined the PMA and became subject to a
over the historical practice of using Port electricians to perform   collective-bargaining agreement concluded in mid-2008 with-
the dockside reefer work.                                            out any apparent regard for the historical bargaining relation-
   Hence, similar to the situation in Enterprise Assn., Respond-     ships at Portland does not strike me as satisfying the “compel-
ents here pressured ICTSI and the carriers in order to achieve       ling circumstances” burden articulated in PCMC that would
effects “elsewhere.” The elsewhere in this case could only           justify the absorption of work duties historically performed by
have been the Port because the Port had always insisted that its     workers in another unit. This is especially true where, as here:
own employees represented by Local 48 perform the dockside           (1) the Port specifically sought to preserve the integrity of the
reefer work. Consequently, Respondents’ activities directed          Local 48 unit work (and that of the other DCTU organizations)
against ICTSI and the carriers that are alleged as unlawful un-      in the T6 lease documents; (2) numerable other comparable
der Section 8(b)(4)(B) in the AGC’s complaint constituted            situations were “red-circled” at other West Coast terminals and
secondary activity in that it ultimately sought to cause the Port    have been allowed to continue under the terms of the LOU; and
to relinquish its control over the dockside reefer work so that it   (3) neither the Port nor its contract stevedores had standing in
could be performed by ICTSI’s employees represented by Lo-           2008, or at any other time, to participate in negotiating the LOU
cal 8. Plumbers Local 438 (George Koch Sons, Inc.), supra at         red-circling arrangement. As I have concluded that ICTSI did
62–63.                                                               not become duty bound to assign the dockside reefer work to
   The Respondents’ assertions that ICTSI and the carriers are       employees in the longshore unit when it joined the PMA, I find
the primary employers under the right of control test lacks mer-     Respondents’ reliance on ICTSI’s PMA membership as a basis
it. Their claim that ICTSI became a primary employer in this         for concluding that ICTSI is a primary employer lacks merit.
dispute when it became a PMA member and thereby obligated            This argument is largely indistinguishable from the claim made
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and emphatically rejected by the Supreme Court long ago in the            As to the other seven allegations—6(c) (the June 1 and 3
Sand Door case.38                                                      slowdowns); 6(f) (TMC worker Correll performing the plug-in
   The Respondents also argue that the right to control the            work); 6(l) (blocking access to reefers for loading); 6(m) (self-
dockside reefer work rests with the carriers because of their          assignment activity by 13 mechanics resulting in their termina-
ownership interest in the reefers. I also reject this claim.           tion); 6(r) (breach of the continuous work arrangement with a
Though it is true that the carriers own or lease all of the reefers,   ship in port); 6(t) (the deliberate failure by the planner to pre-
they purchase available terminal services necessary to load,           pare paperwork for Port electricians); and 6(x) (the self-
unload and store their containers from the terminal owners or          assignment to dockside reefer work that delayed the replace-
operators. Until the carriers in this case began receiving threats     ment of a crane window)—I find the evidence sufficient to
that the ILWU would file grievances against them unless they           infer that the employee conduct in these instances was induced
took steps to insure that the dockside reefer work was per-            and encouraged by Respondents’ agents even though a specific
formed by ILWU labor, there has never been any attempt by              agent(s) cannot be identified in connection with these actions.
the carriers to interfere with the entrepreneurial decisions of the    Such a conclusion is warranted for these reasons: (1) Correll’s
terminal service providers at T6 concerning which work groups          statement that his direction to perform the dockside reefer work
performed what service dockside. If so, those efforts would            “came from the top”; (2) Respondents’ agents directly engaged
presumably have been memorialized in the terminal tariffs the          in a variety of threats and other actions that had an objective
Port published that controlled terminal service charges in the         consistent with the activities by the individual employees in
absence of a special terminal service agreement which the ma-          these seven instances; (3) the complete absence of evidence that
jor carriers that pickup and deliver containers at Portland have       any aspect of this dispute is attributable to a spontaneous em-
negotiated. Respondents’ have pointed to nothing in these              ployee uprising; and (4) the evidence establishing that Re-
terminal service agreements that would warrant the conclusion          spondents’ agents condoned insubordinate employee conduct
that the carriers mere ownership interest in the containers ena-       present in these instances coupled with conduct by Respond-
bled them to define for the terminal operator what work group          ents’ agents that reinforced the impact of the employee activity
could perform what function dockside. Accordingly, I also              by, for example, refusing to dispatch qualified workers from the
reject Respondents’ claim that the carriers qualify as primary         hiring hall to replace workers terminated for outrageously in-
employers under the Board’s right of control test.                     subordinate conduct.
   Finally, a few of Respondents’ witnesses claimed that the              In a nutshell, I find that Respondents, in an effort to secure
lease protections for the DCTU’s historical work were a subter-        the reassignment of the dockside reefer to workers represented
fuge designed to avoid the PCLCD section 1 requirement that            by Local 8, threatened ICTSI officials on May 21, 24, and 25
all maintenance and repair work including the dockside reefer          with adverse consequences if they did not accede to the reas-
work at Portland be assigned to ILWU workers. The record               signment demand, and then orchestrated a systematic sabotage
contains absolutely no support for a claim of this sort. To the        of ICTSI’s operations at T6 between June 1 and 10 that also
contrary, the record shows that the Port established those pro-        adversely affected the operations of the carriers. In fact, some
tections in early drafts of the lease published during the RFQ         carriers chose to bypass Portland altogether because of the ef-
period that occurred well in advance of its direct negotiations        fects of the slowdowns and work stoppages at T6.
with ICTSI. Simply put, there is no evidentiary basis for a                         d. The object of Respondents’ conduct
conclusion that the DCTU provisions in the T6 lease agreement
were deliberately hatched by ICTSI in order to avoid the as-              Having concluded that Respondents lack a valid work
signing the dockside reefer work to ILWU represented employ-           preservation defense, that the Port is the primary employer
ees.                                                                   under the Board’s right of control test, and that the nature of
                                                                       Respondents’ conduct between May 21 and June 10 fits (i) and
                  c. The 8(b)(4)(i) and (ii) conduct                   (ii) proscriptions of Section 8(b)(4)(B), the only remaining
   The Respondents’ conduct set forth in subsection F, above,          question is whether Respondents’ engaged in the conduct de-
constitutes inducement of employees and coercion of employ-            scribed in section F, above, for a “cease doing business” object.
ers within the meaning of Section 8(b)(4)(i) and (ii). Long-              To satisfy the cease doing business object required under
shoremen Assn. Local 1248, 195 NLRB 273, 274 (1972). The               Section 8(b)(4)(B), it need only to be shown that the union’s
credible evidence supporting all but seven of the allegations          secondary activities sought to alter the way in which the prima-
reflects direct leadership and participation in these activities by    ry employer traditionally operates. NLRB v. Operating Engi-
one or more persons admitted to be an agent of the Respond-            neers Local 825, 400 U.S. 297, 304–305 (1971). Accordingly,
ents. Other than the allegations of threats that Sundet made to        it is enough to establish violation here if the Respondents en-
Ganda at their airport meeting, Respondents did not seriously          gaged in secondary activities in order to cause the Port to aban-
contest any of the AGC’s evidence concerning the 8(b)(4)(i)            don its historical practice of using its own electricians to per-
and (ii) conduct. And as I credit Ganda’s account about the            form the dockside reefer work.
threatening language Sundet used at this meeting over Sundet’s            Respondents conduct here had an unlawful cease doing busi-
denials, I include these threats in this finding.                      ness object within the meaning of Section 8(b)(4)(B). Their
                                                                       activities between May 21 and June 10 pressured ICTSI and the
  38
       Carpenters Local 1976, v. NLRB, 357 U.S. 93, 105 (1958).        carriers—all neutral employers—to seek the relinquishment of
                                                                       the Port’s control over the dockside reefer work for the benefit
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of the ILWU-represented workers at T6. To achieve this end            Columbia Chapter v. Operating Engineers Local 701, 529 F.2d
would require that ICTSI and the Port renegotiate the provi-          1395, 1397–1398 (9th Cir. 1976), cert. denied 429 U.S. 822
sions in the T6 lease requiring the lessee to honor the traditional   (1976); Miron v. Operating Engineers Local 139, 44 F.3d 558,
work assignments that the Port sought to maintain at the termi-       567 (7th Cir.1995); Hutter v. Operating Engineers Local 139,
nal. Failing a change in the lease terms or some other accom-         862 F.2d 641, 645 (7th Cir.1988); Sheet Metal Workers Local
modation from the Port, the Respondents, as was threatened on         27 (E. P. Donnelly), 357 NLRB No. 131 (2011); and Carpen-
June 9, planned “to run ICTSI out of town.” By engaging in            ters Local 33 (AGC of Massachusetts), 289 NLRB 1482 (1988).
conduct disruptive of the operations of ICTSI and the carriers at     Respondents argue that the holdings by the courts and the
T6 in order to cause the Port to relinquish its control over the      Board in these cases establish its right to pursue contractual
dockside reefer work, Respondents violated Section 8(b)(4)(i)         remedies against the PMA carriers, the owners or lessees of all
and (ii)(B) as alleged. Plumbers Local 438 (George Koch               the reefers involved, separate from ICTSI based on their failure
Sons, Inc.), supra.                                                   to require the use of ILWU labor to perform the dockside reefer
              2. The 8(b)(4)(i) and (ii)(D) allegations               work in accord with PCLCD section 1 as interpreted in CLRC-
                                                                      012-2012 and CLRC-013-2012.
   With respect to the 8(b)(4)(D) allegations, the AGC contends          I find those cases factually distinguishable from the situation
that the Board’s decision in the 10(k) case settled the dockside      here. They all involve subcontracting practices in the construc-
reefer work assignment against Respondents. Accordingly,              tion industry. Unlike the situation found here, the right to con-
counsel for the AGC argues that the Respondents’ continued            trol work assignments almost always pass with the subcontract
pursuit of the dockside reefer work by processing grievances          without altering the permanent business structures. As a result,
filed before and after the decision in the 10(k) case, the court      the cases Respondents cite reflect instances where it is possible
action seeking affirmation of CLRC-012-2012 and CLRC-013-             for a separate, identifiable cause of action to arise under the
2012, and the demands and threats against the carriers after the      separate collective-bargaining agreements of the contractor and
decision in the 10(k) case violates Section 8(b)(4)(D). Re-           its subcontractor. In that setting, the contractor need only to be
spondents concede that they have not withdrawn their pending          more careful when choosing the next subcontractor or when
lawsuit against ICTSI because the unfair labor practice route is      drafting the terms of a particular subcontract.
the only means by which they can test the Board’s decision in            An entirely different structure exists at T6. Contrary to Re-
the 10(k) case. However, Respondents contend that the                 spondents contention, there is no “subcontracting” arrange-
Board’s 10(k) determination does not bar them from pursuing           ment. Instead, the business structure established between the
their contractual remedies against the carriers for money dam-        Port and ICTSI is a long-term lease agreement, a real estate
ages resulting from the subcontracting of the dockside reefer         arrangement for a portion of the Ports’ marine terminals which
work in violation of the PCLCD.                                       memorializes the requirement that the lessee adhere to tradi-
   Based on the rationale in Longshoremen ILWU Local 32               tional work assignments that had been in effect at the T6 for the
(Weyerhauser Co), 271 NLRB 759 (1984), enfd. 773 F.2d 1012            previous four decades. This business structure, seemingly
(9th Cir. 1985), cert denied 476 U.S. 1158 (1986), I have con-        common in the industry because the Port was supposedly the
cluded that Respondents violated Section 8(b)(4)(D) by filing         last to adopt it, is dependent for its economic vitality on the
and processing the pay-in-lieu grievances whenever the Port’s         willingness of the carriers in the shipping industry to use the
electricians performed the dockside reefer work at T6 from            stevedore services provided at T6. Under Respondents’ theory,
March 20l2 onward. And, as noted in that case, the Board’s            it can be anticipated that there will be thousands of the disputed
10(k) decision takes precedence over the contractual dispute          work assignments each year during the 25-year lease term, each
resolution mechanisms reflected in CLRC-012-2012 and                  giving rise to a separate pay-in-lieu grievance that would be
CLRC-013-2012. For this reason, I find Respondents further            highly destructive. Whatever else may be said of the arrange-
violated Section 8(b)(4)(D) by filing and maintaining the law-        ment at T6, it is not one that involves subcontracting on a con-
suit in the Federal district court for the unlawful, self-serving     tainer-by-container basis.
purpose of obtaining the court’s affirmation of the decisions            As a practical matter, the result sought by Respondents
made in CLRC-012-2012 and CLRC-013-2012 that undermine                would compel the PMA carriers to either: (1) forego doing
the Board’s award in the 10(k) case. Bill Johnson’s Restau-           business altogether at T6 (as some did for limited periods at the
rants Inc. v. NLRB, 461 U.S. 731 fn. 5 (1983). Hence, my rec-         height of this dispute); (2) pay an unending monetary exaction
ommended remedial order will require Respondents to with-             to the ILWU workers at T6 because they are not permitted to
draw this lawsuit.                                                    do the dockside reefer work at T6; or (3) pressure the Port and
   Respondents’ contend that the Board’s 10(k) determination          ICTSI to alter their T6 lease agreement to permit longshore
here does not bar them from pursuing contractual remedies             workers represented by Local 8 to perform the dockside reefer
against the PMA carriers whenever the Port’s electricians per-        work. The economic pressure that would likely result from a
form the dockside reefer work on their containers at T6. This         variety of sources should the carriers opt for either the first or
argument is based on a variety of Board and court cases finding       second option would inevitably lead them to insist on the third
that a union does not violate Section 8(b)(4)(D) following the        option (as some have already done), which would effectively
issuance of a 10(k) award by pursuing pay-in-lieu grievances          drive a dagger straight through the heart of the Board’s 10(k)
against employers not involved with the disputed work assign-         award concerning the dockside reefer work at T6. Hence, I
ment covered by the Board’s award. See, e.g. AGC Oregon-              conclude that importing the rule applied in construction indus-
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try cases cited by Respondents to this situation would effective-   or require any of them or any other similarly situated neutral
ly nullify the Board’s award in the 10(k) case.                     employers or persons to cease doing business with the Port,
   In addition, as I have previously found, the parties to the      Respondents have engaged in unfair labor practices affecting
PCLCD never received proper authorization from the Port to          commerce within the meaning of Section 8(b)(4)(ii)(B) and
enter into their 2008 LOU arrangement on which they rely to         Section 2(6) and (7) of the Act.
gobble up the Port’s historically-exercised right to assign the        8. By filing, maintaining, and prosecuting grievances or
dockside reefer work (or see to it that it is so assigned) to its   lawsuits or threatening to engage in such conduct against
own employees represented by Local 48. This conclusion,             ICTSI, COSCO North America, Inc., Hanjin Shipping America,
deeply rooted in the Board’s well-established policies applica-     LLC, “X” Line America, Inc., Hamburg Sud North America,
ble to multiemployer collective bargaining relationships, ra-       Inc, and Hapag Lloyd America Inc., or other similarly situated
tionally compels the finding I now make that Respondents            neutral employers or persons in order to force or require the
simply have no contractual foundation that the Board must or        Port to assign the dockside reefer work at T6 to employees who
should recognize for their pursuit of monetary damages against      are members of, or represented by, Respondent Local 8, rather
the PMA carriers under the PCLCD for abiding by the existing        than to employees who are members of, or represented by,
dockside reefer work assignments. Accordingly, I find Re-           Local 48, Respondents have engaged in unfair labor practices
spondents violated Section 8(b)(4)(ii)(D) as alleged by pursuing    affecting commerce within the meaning of Section
pay-in-lieu grievances and the lawsuit against the PMA carriers     8(b)(4)(ii)(D) and Section 2(6) and (7) of the Act.
who have done business at T6 after ICTSI commenced opera-                                         REMEDY
tions there in 2011 under its lease with the Port.
                                                                       Having found that the Respondents have engaged in certain
                     CONCLUSIONS OF LAW                             unfair labor practices, my recommended order will require that
   1. The Port is a person within the meaning of Section 2(1)       they cease and desist therefrom and take certain affirmative
and Section 8(b)(4) of the Act.                                     action designed to effectuate the policies of the Act.
   2. ICTSI, TMC, COSCO, Hanjin, “X” Line, Hamburg Sud,                The June and August complaints both request that Respond-
and Hapag Lloyd are persons and employers within the mean-          ents be required to “post Notices at all International Longshore
ing of Section 2(1), (2), and Section 8(b)(4) of the Act.           and Warehouse Union and its Locals’ offices/facilities in Ore-
   3. ILWU, Local 8, Local 40 (collectively Respondents), and       gon, and to mail copies of said Notices to all of Respondents’
Local 48 each are a labor organization within the meaning of        members working in Oregon from March 1, 2012 to the pre-
Section 2(5) of the Act                                             sent.” The AGC’s brief provides no rationale in support of this
   4. By threatening or impliedly threatening to shut down or       statewide remedial request and no supporting evidence was
otherwise disrupt ICTSI’s operations at Terminal 6 in Portland,     adduced at the hearing.
Oregon, in order to force or require ICTSI or any other person         There are several local unions affiliated with the ILWU in
to cease doing business with the Port or any other person, Re-      the State of Oregon in addition to Locals 8 and 40 involved in
spondents have engaged in unfair labor practices affecting          this case. An ILWU website39 lists the following: Local 5 in
commerce within the meaning of Section 8(b)(4)(ii)(B), and          Portland serving warehouse, retail, and allied warehouse work-
Section 2(6) and (7) of the Act.                                    ers; Local 12 in North Bend serving longshore workers; Local
   5. By failing and refusing to fulfill ICTSI’s timely requests    28 in Portland serving security officers; Local 50 in Astoria
for the referral of qualified employees for work at Terminal 6 in   serving longshore workers; Local 53 in Newport serving long-
accord with the Pacific Coast Longshore and Clerks Agreement        shore workers; and Local 92 in Portland serving walking bosses
in order to force or require ICTSI or any other person to cease     and foremen. Although there is evidence pertaining to the
doing business with the Port or any other person, Respondents       walking bosses and foremen from Local 92 in this case, there is
have engaged in unfair labor practices affecting commerce           no evidence that they participated in any manner in the unfair
within the meaning of Section 8(b)(4)(ii)(B) and Section 2(6)       labor practices found above. And there is no evidence that any
and (7) of the Act.                                                 officers or members of any other ILWU local union in Oregon
   6. By inducing and encouraging employees to withhold their       were involved in this dispute. In the absence of evidence show-
services, to engage in slowdowns and work stoppages, or to          ing some form of participation by the other Oregon local unions
interfere with the lawful and proper work assignments of other      in the unfair labor practices involved here, I deny the AGC’s
employee groups that perform services at Terminal 6 in Port-        request that these other local unions be required to post the
land, Oregon, in order to force or require ICTSI or any other       notices on behalf of the ILWU and Locals 8 and 40. The notice
person to cease doing business with the Port or any other per-      posting requirement will be limited to the facilities of the
son, Respondents have engaged in unfair labor practices affect-     ILWU, and Locals 8 and 40.
ing commerce within the meaning of Section 8(b)(4)(i) and              The AGC also seeks to have signed copies of the notices fur-
(ii)(B) and Section 2(6) and (7) of the Act.                        nished to the PMA and the neutral employers doing business at
   7. By filing, processing, maintaining and prosecuting griev-     T6 during the relevant time period for posting if they so chose.
ances or lawsuits or threatening to engage in such conduct          Accordingly, my recommended order will require that each of
against ICTSI, COSCO North America, Inc., Hanjin Shipping           the Respondents furnish signed copies of the notice for posting
America, LLC, “X” Line America, Inc., Hamburg Sud North
America, Inc., and Hapag Lloyd America Inc., in order to force        39
                                                                           See http://www.ilwu.org/?page_id=315.
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28                                     DECISIONS OF THE NATIONAL LABOR RELATIONS BOARD


to PMA, ICTSI, TMC, COSCO North America, Inc., Hanjin                    similarly situated neutral employers or persons in order to force
Shipping America, LLC, “X” Line America, Inc., Hamburg Sud               or require the Port of Portland to assign the work of plugging,
North America, Inc., and Hapag Lloyd America Inc.                        unplugging, and monitoring the conditions of the refrigerated
   The proposed notice to members attached to the AGC’s brief            containers while positioned on the dock at Terminal 6 to em-
contains certain instructive language to the Respondents’ agents         ployees who are members of, or represented by, Respondent
and to the PMA and PMA carriers. I reject the AGC’s request              Local 8, rather than to employees who are members of, or rep-
to include this language in the notice to members on the ground          resented by, the International Brotherhood of Electrical Work-
such instructions are not appropriate for inclusion in a notice to       ers, Local 48, AFL–CIO.
members.                                                                    2. Take the following affirmative action necessary to effec-
   On these findings of fact and conclusions of law and on the           tuate the policies of the Act.
entire record, I issue the following recommended40                          (a) Within 14 days from the date of this order, withdraw the
                              ORDER                                      Complaint for Confirmation and Enforcement of Final and
                                                                         Binding Rulings under Collective-Bargaining Agreement filed
   The Respondents, International Longshore and Warehouse                against ICTSI Oregon, Inc. in the Federal District Court for the
Union, AFL–CIO, San Francisco, California, International                 District of Oregon.
Longshore and Warehouse Union, Local 8, AFL–CIO, Port-                      (b) Within 14 days after service by the Region, post at their
land, Oregon, and International Longshore and Warehouse                  offices in Portland, Oregon, and San Francisco, California,
Union, Local 40, AFL–CIO, Portland, Oregon, their officers,              copies of the attached notice marked “Appendix.”41 Copies of
agents, and representatives, shall                                       the notice, on forms provided by the Regional Director for Re-
   1. Cease and desist from                                              gion 19 after being signed by the Respondents’ authorized rep-
   (a) Inducing and encouraging employees of ICTSI Oregon,               resentatives, shall be posted by the Respondents and maintained
Inc. (ICTSI) to withhold their services, engage in slowdowns             for 60 consecutive days in conspicuous places including all
and work stoppages, or interfere with the lawful and proper              places where notices to members are customarily posted. In
work assignments of other employee groups that perform ser-              addition to physically posting the paper notices, the notices
vices at Terminal 6 in Portland, Oregon, in order to force or            shall be distributed electronically, such as by email, posting on
require ICTSI, any sea-going carrier using the services provid-          an intranet or on an internet site, and/or other electronic means,
ed at terminal 6, or any other person to cease doing business            if the Respondents customarily communicate with their mem-
with the Port of Portland at terminal 6.                                 bers or the employees it represents by such means. Reasonable
   (b) Directly or indirectly threatening in any manner to shut          steps shall be taken by the Respondents to ensure that the notic-
down or otherwise disrupt ICTSI’s operations at terminal 6 in            es are not altered, defaced, or covered by any other material.
Portland, Oregon, in order to force or require ICTSI or any                 (c) Sign and return to the Regional Director sufficient copies
other person to cease doing business with the Port of Portland           of the notice for physical and/or electronic posting by ICTSI
at its terminal 6.                                                       Oregon, Inc., TMC, COSCO North America, Inc., Hanjin Ship-
   (c) Failing and refusing to fulfill ICTSI’s timely requests for       ping America, LLC, “X” Line America, Inc., Hamburg Sud, and
the referral of qualified employees for work at terminal 6 in            Hapag Lloyd America Inc., if willing, at all places or in the
accord with the Pacific Coast Longshore and Clerks Agreement             same manner as notices to employees are customarily posted.
in order to force or require ICTSI or any other person to cease             (d) Within 21 days after service by the Region, file with the
doing business with the Port at Terminal 6.                              Regional Director a sworn certification of a responsible official
   (d) Filing, processing, maintaining and prosecuting griev-            on a form provided by the Region attesting to the steps that the
ances or lawsuits or threatening to engage in such conduct               Respondents have taken to comply.
against ICTSI, Terminal Maintenance Corporation (TMC),                      Dated, Washington, D.C. August 28, 2013
COSCO North America, Inc., Hanjin Shipping America, LLC,
“X” Line America, Inc., Hamburg Sud North America, Inc., and                                          APPENDIX
Hapag Lloyd America Inc., or any other similarly situated neu-                                 NOTICE TO EMPLOYEES
tral employer using the services provided at terminal 6, Port-                                POSTED BY ORDER OF THE
land, Oregon, in order to force or require any of them or any                            NATIONAL LABOR RELATIONS BOARD
other neutral employers or persons to cease doing business with                       An Agency of the United States Government
the Port of Portland.
                                                                         The National Labor Relations Board has found that we violated
   (e) Filing, maintaining, processing, and prosecuting griev-
                                                                         Federal labor law and has ordered us to post and obey this no-
ances or lawsuits or threatening to engage in such conduct
                                                                         tice.
against ICTSI, TMC, COSCO North America, Inc., Hanjin
Shipping America, LLC, “X” Line America, Inc., Hamburg Sud                 WE WILL NOT induce or encourage employees of ICTSI Ore-
North America, Inc., and Hapag Lloyd America Inc., or other              gon, Inc. (ICTSI) to withhold their services, engage in slow-
                                                                            41
    40
       If no exceptions are filed as provided by Sec. 102.46 of the            If this Order is enforced by a judgment of a United States court of
Board’s Rules and Regulations, the findings, conclusions, and recom-     appeals, the words in the notice reading “Posted by Order of the Na-
mended Order shall, as provided in Sec. 102.48 of the Rules, be adopt-   tional Labor Relations Board” shall read “Posted Pursuant to a Judg-
ed by the Board and all objections to them shall be deemed waived for    ment of the United States Court of Appeals Enforcing an Order of the
all purposes.                                                            National Labor Relations Board.”
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                                                     LONGSHOREMEN LOCAL 8                                                          29

downs and work stoppages, or interfere with the lawful and          are members of, or represented by, Respondent Local 8, rather
proper work assignments of other employee groups that per-          than to employees who are members of, or represented by, the
form services at Terminal 6 in Portland, Oregon, in order to        International Brotherhood of Electrical Workers, Local 48,
force or require ICTSI, or any sea-going carrier to cease using     AFL–CIO.
the services provided at Terminal 6..                                  WE WILL NOT in any like or related manner induce or encour-
   WE WILL NOT directly or indirectly threaten in any manner to     age any individual employed by any person engaged in com-
shut down or otherwise disrupt ICTSI’s operations at Terminal       merce or in an industry affecting commerce to engage in a
6, Portland, Oregon, in order to force or require ICTSI or any      strike or a refusal in the course of their employment to use,
other person to cease doing business with the Port of Portland      manufacture, process, transport, or otherwise handle or work on
at Terminal 6.                                                      any goods, articles, materials, or commodities or to perform
   WE WILL NOT fail and/or refuse to fulfill ICTSI’s timely re-     any services; or threaten, coerce, or restrain any person engaged
quests for the referral of qualified employees for work at Ter-     in commerce or in an industry affecting commerce, where in
minal 6 in accord with the Pacific Coast Longshore and Clerks       either case an object thereof is to: (1) force or require any per-
Agreement in order to force or require ICTSI or any other per-      son to cease using, selling, handling, transporting, or otherwise
son to cease doing business with the Port at Terminal 6.            dealing in the product s of any other producer, processor, or
   WE WILL NOT file, process, maintain and/or prosecute griev-      manufacturer, or to cease doing business with any other person;
ances or lawsuits, or threaten to engage in such conduct against    or (2) force or require any employer to assign particular work to
ICTSI, Terminal Maintenance Corporation (TMC), COSCO                employees in a particular labor organization or in a particular
North America, Inc., Hanjin Shipping America, LLC, “X” Line         trade, craft, or class rather than to employees in another labor
America, Inc., Hamburg Sud North America, Inc., and Hapag           organization or in another trade, craft, or class.
Lloyd America Inc., or any other similarly situated neutral em-        WE WILL withdraw the Complaint for Confirmation and En-
ployer at T6, in order to force or require any of them or any       forcement of Final and Binding Rulings under Collective Bar-
other neutral employers or persons to cease doing business with     gaining Agreement filed against ICTSI Oregon, Inc. in the Fed-
the Port of Portland.                                               eral District Court for the District of Oregon.
   WE WILL NOT file, maintain, process, and/or prosecute griev-
ances or lawsuits, or threaten to engage in such conduct, against               INTERNATIONAL LONGSHORE           AND    WAREHOUSE
ICTSI, TMC, COSCO North America, Inc., Hanjin Shipping                          UNION, AFL–CIO
America, LLC, “X” Line America, Inc., Hamburg Sud North
America, Inc., and Hapag Lloyd America Inc., or other similar-                  INTERNATIONAL LONGSHORE           AND    WAREHOUSE
ly situated neutral employers or persons in order to force or                   UNION, LOCAL 8, AFL–CIO
require the Port to assign the work of plugging, unplugging,
and monitoring the conditions of the refrigerated containers                    INTERNATIONAL LONGSHORE           AND    WAREHOUSE
while positioned on the dock at Terminal 6 to employees who                     UNION, LOCAL 40, AFL–CIO
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   CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

      Pursuant to Circuit Rule 28.1(a)(1), the undersigned counsel for

Petitioners/Cross-Respondents in the above-captioned matter submits this

Certificate of Parties, Rulings, and Related Cases.

      A.     Parties and Amici.

             1.    International Longshore and Warehouse Union and International

      Longshore and Warehouse Union Locals 8 and 40 (collectively “ILWU”) are

      the Petitioners/Cross-Respondents.

             2.    The National Labor Relations Board (“Board”) is the

      Respondent/Cross-Petitioner.

             3.    ICTSI Oregon, Inc. (“ICTSI”) was a Charging Party in the

      proceeding before the Board, and is an Intervenor-Respondent in this appeal.

             4.    Port of Portland (“Port”) was a Charging Party in the proceeding

      before the Board and filed an amicus curiae brief in support of the Board.

             5.    Pacific Maritime Association (“PMA”) has filed an amicus

      curiae brief in support of ILWU.

             6.    North America’s Building Trades Unions (“NABTU”) and the

      International Association of Machinists and Aerospace Workers, AFL-CIO,

      have jointly filed an amicus curiae brief in support of the Board as to the “right

      to control” issue.




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       B.     Rulings Under Review.

       ILWU seeks review of the Board’s Decision and Order in International

Longshore and Warehouse Union, et al., Case No. 19-CC-100903, reported at 363

NLRB No. 12 (September 24, 2015).

       C.     Related Cases. The case has not been previously before this Court or

any other court. As of the date of this filing, ILWU is aware of the following other

cases pending before another federal court of appeals involving substantially the

same parties and the same or similar issues as the instant case:

       1.     ILWU, et al. v. NLRB, 15-1443 and 16-1036 (D.C. Cir.);

       2.     ILWU, et al. v. ICTSI Oregon, Inc., 14-35504 (9th Cir.); and

       3.     Ronald K. Hooks, on behalf of the NLRB, v. ILWU, et al., No. 12-36068

(9th Cir.).

       To the best of counsel’s knowledge, no other related cases are currently

pending in this Court or in any other federal court of appeals, or in any other court

in the District of Columbia.



Dated: December 20, 2017               LAW OFFICE OF ROBERT REMAR

                                 By:    /s/ Robert S. Remar
                                       Robert Remar

                                       Attorneys for Petitioners,
                                       ILWU and ILWU LOCALS 8 and 40




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                 CORPORATE DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 26.1 and Circuit Rule 26.1,

Petitioners/Cross-Respondents ILWU make the following disclosures:

      International Longshore and Warehouse Union is an unincorporated

association constituting a labor union under federal labor law.

             International Longshore and Warehouse Union, Locals 8 and 40 are

unincorporated associations constituting labor unions under federal labor law and

affiliated with the International Longshore and Warehouse Union.



Dated: December 20, 2017               LAW OFFICE OF ROBERT REMAR

                                By:     /s/ Robert S. Remar
                                       Robert Remar

                                       Attorneys for Petitioners,
                                       ILWU and ILWU LOCAL 8 AND 40




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                         CERTIFICATE OF SERVICE

      I hereby certify that on December 20, 2017, I electronically filed the foregoing

document with the Clerk of the Court for the United States Court of Appeals for the

District of the Columbia Circuit by using the appellate CM/ECF system.


      I certify that the participants in the case are registered CM/ECF users and that

service will be accomplished by the appellate CM/ECF system.




Dated: December 20, 2017               LAW OFFICE OF ROBERT REMAR

                                By:     /s/ Robert S. Remar
                                       Robert Remar

                                       Attorneys for Petitioners,
                                       ILWU and ILWU LOCAL 8 AND 40




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